Case 23-12825-MBK   Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13   Desc Main
                            Document    Page 1 of 57



                                   EXHIBIT M

                           Trust Distribution Procedures
Case 23-12825-MBK              Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                 Desc Main
                                       Document    Page 2 of 57




                                   TRUST DISTRIBUTION PROCEDURES

                                                       Table of Contents

                                                                                                                                        Page

           INTRODUCTION & OVERVIEW ............................................................................. - 1 -
     1.1   Purpose........................................................................................................................ - 1 -
     1.2   Interpretation ............................................................................................................... - 1 -
     1.3   Exclusivity .................................................................................................................. - 1 -
     1.4   General Principles ....................................................................................................... - 1 -
           INTERPRETATION & DEFINITIONS ..................................................................... - 2 -
     2.1   Pan and Confirmation Order Control .......................................................................... - 2 -
     2.2   Incorporation of Plan Definitions; Interpretation ....................................................... - 2 -
     2.3   Definitions................................................................................................................... - 2 -
           TDP ADMINISTRATION ........................................................................................ - 11 -
     3.1   General Administration............................................................................................. - 11 -
              Coordination of Trustees, Claims Administrator & Claims Processor ................. - 11 -
              Preparation of and Deadline for Distribution of Submission Procedures ............. - 12 -
              Consent & Consultation Requirements ................................................................. - 12 -
     3.2   Appropriateness of Costs .......................................................................................... - 13 -
     3.3   Lien Resolution ......................................................................................................... - 13 -
              In General.............................................................................................................. - 15 -
              Procedures ............................................................................................................. - 16 -
     3.4   Trust Disclosure of Information................................................................................ - 14 -
     3.5   Notice Requirements ................................................................................................. - 15 -
     3.6   Auditing .................................................................................................................... - 15 -
              Cross-Trust Audit Program ................................................................................... - 15 -
              Claims Audit Program .......................................................................................... - 16 -
              Consequences of Audit Programs ......................................................................... - 16 -
           INDIVIDUAL CLAIMS ALLOWANCE PROCESS ............................................... - 17 -
     4.1   General Principles ..................................................................................................... - 17 -
              Recovery Only With Respect to a Single Individual Claim ................................. - 17 -
              Treatment of Individual Claims Previously Resolved .......................................... - 17 -
     4.2   Submission Deadlines ............................................................................................... - 19 -


 i
Case 23-12825-MBK                 Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                 Desc Main
                                          Document    Page 3 of 57



                 Deadline to Submit Existing Claims to Trust ...................................................... - 19 -
                 Effect of Statutes of Limitations and Repose ....................................................... - 19 -
      4.3     Submission Procedures ............................................................................................. - 20 -
                 FIFO Processing Queue ........................................................................................ - 20 -
                 Withdrawal of Submitted Claims.......................................................................... - 21 -
                 Deferral of Submitted Claims ............................................................................... - 21 -
                 Non-Responsive Individual Claimants ................................................................. - 22 -
                 Submission Requirements ..................................................................................... - 22 -
                 Disallowed Claims ................................................................................................ - 23 -
      4.4     Claim Evaluation Procedures .................................................................................... - 24 -
                 FIFO Processing.................................................................................................... - 24 -
                 Preliminary Evaluation of Claim Submissions ..................................................... - 24 -
                 General Principles for Evaluation of Confirmed Claims ...................................... - 25 -
                 Standard Qualification Evaluation Process ........................................................... - 26 -
                 Accelerated Evaluation Process ............................................................................ - 27 -
             VALUATION OF ALLOWED CLAIMS ................................................................. - 28 -
      5.1     In General.................................................................................................................. - 28 -
      5.2     Determination of Scheduled Values for Qualifying Claims ..................................... - 29 -
                 Qualifying Ovarian Cancer Claims ....................................................................... - 29 -
                 Qualifying Mesothelioma Claims ......................................................................... - 34 -
      5.3     Allowed Claim Amounts for Approved Accelerated Claims ................................... - 37 -
               Individual Claims Which Could Have Appropriately Elected to Proceed Under the
        Standard Qualification Evaluation Process ....................................................................... - 37 -
                 Canadian Claims ................................................................................................... - 37 -
                 Other Allegedly Talc-Related Diseases ................................................................ - 37 -
             RECONSIDERATION REQUESTS & ADR PROCEDURES ................................ - 37 -
      6.1     Reconsideration of Determination ............................................................................ - 37 -
                 Requirements for Reconsideration Requests ........................................................ - 37 -
                 Forfeiture of Right to Request Reconsideration ................................................... - 38 -
                 Failure to Request Reconsideration Deemed Acceptance .................................... - 38 -
                 Reconsideration Request Procedures .................................................................... - 38 -
      6.2     ADR Procedures. ...................................................................................................... - 39 -
      6.3     Litigation ................................................................................................................... - 40 -
             INDIVIDUAL CLAIMS PAYMENT PROCESS ..................................................... - 41 -
      7.1     Points-Based Monetary Values ................................................................................. - 41 -
 ii
Case 23-12825-MBK                     Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                     Desc Main
                                              Document    Page 4 of 57



                    Uncertainty of Debtor’s Talc Liabilities ............................................................... - 41 -
                    Description & Application of Points Valuation System ....................................... - 41 -
       7.2      General Guidelines for Liquidating & Paying Allowed Claims ............................... - 42 -
                    Documentation Requirements ............................................................................... - 42 -
                    Offsets ................................................................................................................... - 43 -
       7.3      Payment of Claims .................................................................................................... - 43 -
                    Allowed Claim Amounts Held in Escrow ............................................................ - 43 -
                    Payment of Allowed Claims ................................................................................. - 43 -
       7.4      Payment Processing .................................................................................................. - 44 -
                    FIFO Payment Processing..................................................................................... - 44 -
                    Discretion to Vary the Order & Amounts of Payments in Event of Limited Liquidity
                    - 44 -
       7.5      Punitive Damages ..................................................................................................... - 45 -
               RESOLUTION OF GOVERNMENTAL ACTION CLAIMS .................................. - 45 -
       8.1      Governmental Action Claims Are Subject to These TDP ........................................ - 45 -
       8.2      Settlement Offer and Negotiations............................................................................ - 45 -
       8.3      Mediation .................................................................................................................. - 46 -
       8.4      Arbitration ................................................................................................................. - 46 -
       8.5      Litigation ................................................................................................................... - 47 -
       8.6      Payment of Settlement Amount, Arbitration Award, and Judgment ........................ - 47 -
                    Payment Upon Final Determination ..................................................................... - 47 -
                    Initial Payment Percentage ................................................................................... - 48 -
                    Supplemental Payment Percentage ....................................................................... - 48 -
                    Release .................................................................................................................. - 48 -
                    FIFO Claims Processing Queuing ........................................................................ - 48 -
       8.7      Statutes of Limitations & Repose ............................................................................. - 48 -

 ................................................................................................................................................... - 49 -
       9.1      Indirect Derivative Talc Personal Injury Claims ...................................................... - 45 -
       9.2      Offset......................................................................................................................... - 45 -
       9.3      Court Review ............................................................................................................ - 46 -
       9.4      Non-Resposive Indirect Derivative Talc Personal Injury Claimants ........................ - 46 -
                 MISCELLANEOUS ................................................................................................ - 51 -
       10.1     Non-Binding Effect of Trust and/or Litigation Outcome ......................................... - 51 -
       10.2     Independence of Trust............................................................................................... - 51 -

 iii
Case 23-12825-MBK                Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                Desc Main
                                         Document    Page 5 of 57



      10.3   Amendments ............................................................................................................. - 51 -
      10.4   Severability ............................................................................................................... - 52 -
      10.5   Governing Law ......................................................................................................... - 52 -




 iv
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                                 Document    Page 6 of 57



                            TRUST DISTRIBUTION PROCEDURES

         The Trust Distribution Procedures (hereafter “TDP”) contained herein provide the means
 for resolving all Talc Personal Injury Claims, including Individual Claims, Indirect Derivative Talc
 Personal Injury Claims, TPP Lien Claims, and Governmental Action Claims, as provided in and
 required by the Plan and the Talc Personal Injury Trust Agreement (the “Trust Agreement”).

        The Plan and the Trust Agreement establish the Talc Personal Injury Trust (the “Trust”).
 The trustee(s) of the Trust (the “Trustees”) shall implement and administer these TDP in
 accordance with the Trust Agreement.


                                INTRODUCTION & OVERVIEW

 1.1    Purpose

         These TDP have been adopted pursuant to the Plan and Trust Agreement and are intended
 to provide reasonable assurance that the Trust will evaluate, value, and pay Talc Personal Injury
 Claims that involve similar claims in substantially the same manner, and otherwise comply with
 the requirements of a trust set forth in section 524(g) of the Bankruptcy Code. To achieve this
 goal, these TDP set forth procedures for processing, evaluating, resolving, and paying (as
 appropriate) Individual Claims through either the Standard Qualification Evaluation Process or the
 Accelerated Evaluation Process described herein, and for liquidating and paying Indirect Talc
 Personal Injury Claims, including Governmental Action Claims. These TDP are designed to be
 consistent with characteristics known to be relevant to the valuation of Talc Personal Injury Claims
 in the tort system, including disease type and age at diagnosis, and/or the theories promulgated by
 plaintiffs’ experts in the MDL, including time since last talc use.

 1.2    Interpretation

         Except as expressly provided below, nothing in these TDP shall be deemed to create a
 substantive right for the holder of any Talc Personal Injury Claim. To the extent these TDP provide
 certain rights and benefits to holders of Talc Personal Injury Claims, such rights and benefits shall
 vest in such holders as of the Effective Date.

 1.3    Exclusivity

        These TDP and any related procedures set forth or designated herein shall be the sole and
 exclusive method by which a Person may seek allowance and distribution on a Talc Personal Injury
 Claim.

 1.4    General Principles

        These TDP are founded on the following principles:

        1)      The efficient resolution of all Talc Personal Injury Claims and equitable valuation
                of all similarly situated Talc Personal Injury Claims;


 -1-
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                 Document    Page 7 of 57



        2)      Clear and objective qualification and valuation criteria;

        3)      Clear and reliable evidentiary requirements;

        4)      A rigorous review and evaluation process requiring the Trustees to determine the
                appropriate Scheduled Values for Individual Claims in accordance with these TDP
                and applicable law;

        5)      Independence of the Trust and the Trustees;

        6)      Administrative transparency; and

        7)      Fraud detection and prevention.


                             INTERPRETATION & DEFINITIONS

 2.1    Plan and Confirmation Order Control

         Except as set forth in Section 2.2 below, the terms of the Plan and Confirmation Order shall
 prevail if there is any discrepancy between the terms of the Plan or Confirmation Order and the
 terms of these TDP.

 2.2    Incorporation of Plan Definitions; Interpretation

         Capitalized terms used but not defined in these TDP have the meanings ascribed to them
 in the Plan or the Trust Agreement, and such definitions are incorporated by reference herein.
 Terms defined in the singular shall include the plural, and vice versa. To the extent a term is
 defined in these TDP, as well as in the Plan and/or the Trust Agreement, the definition contained
 in these TDP shall control. For purposes of these TDP, “includes” and “including” are not limiting.

 2.3    Definitions

        1.      “Accelerated Claims Criteria” shall mean the requirements set forth in Section
                4.4.5, which a Confirmed Claim proceeding under the Accelerated Evaluation
                Process must satisfy in order to be deemed an Other Approved Claim.

        2.      “Accelerated Evaluation Process” shall mean the claims evaluation process by
                which the Claims Administrator shall evaluate Confirmed Claims to determine
                whether they are Other Approved Claims, as set forth in Section 4.4.5.

        3.      “Acceptance and Release” shall have the meaning set forth in Section 7.2.1(A).

        4.      “Adjusted Point Value” shall have the meaning set forth in Section 5.2.1(B) or
                Section 5.2.2(B), as applicable.

        5.      “ADR Procedures” shall mean the alternative dispute resolution procedures set
                forth in Section 6.2.


 -2-
Case 23-12825-MBK     Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                              Document    Page 8 of 57



       6.    “Allowed Claim Amount” shall mean the actual dollar value of an Allowed Claim
             which, except as otherwise specified herein, is determined by multiplying the Cash
             Value of a Point by the Scheduled Value of the Allowed Claim, subject, in the case
             of an Allowed Claim of an Individual Claimant who is a Specified Insured
             Individual, to reduction pursuant to Section 3.3.

       7.    “Allowed Claims” shall mean all Qualifying Claims and Other Approved Claims,
             collectively.

       8.    “Allowed Judgment Amount” shall have the meaning set forth in Section 6.3.

       9.    “Auditor” shall have the meaning set forth in Section 3.6.1.

       10.   “Cash Value of a Point” shall mean the dollar value assigned to a point by the
             Trustees.

       11.   “Cash Value of a Point Adjustment Notice” shall have the meaning set forth in
             Section 7.1.2(B).

       12.   “Claim Materials” shall mean any evidence and other materials submitted in
             support of Individual Claims, including the materials required pursuant to Section
             4.3.5.

       13.   “Claim Submission” shall mean an Individual Claimant’s substantially complete
             submission to the Trust of all Claim Materials.

       14.   “Claim Submission Form” shall mean the form developed and adopted by the
             Trustees, in concert with the Claims Administrator and the Claims Processor, and
             approved by the TAC and FCR, which Individual Claimants must complete and
             submit to the Trust pursuant to the Submission Procedures as set forth herein. The
             Claim Submission Form shall include, among other things, a requirement that the
             Individual Clamant elect whether to proceed under the Standard Qualification
             Evaluation Process or the Accelerated Evaluation Process, as well as an option for
             the Individual Claimant to elect to receive distributions made pursuant to these TDP
             through his/her retained counsel.

       15.   “Claimant Information” shall have the meaning set forth in Section 4.3.5.

       16.   “Claimant’s Jurisdiction” shall mean either (a) the jurisdiction in which the
             Individual Claim was filed against the Debtor and/or any LTL Corporate Party in
             the tort system prior to the Petition Date or (b) if the Individual Claim was not filed
             against the Debtor and/or any LTL Corporate Party in the tort system prior to the
             Petition Date, then at the claimant’s election (i) the jurisdiction in which the
             Individual Claimant resided on the Date of Diagnosis; (ii) the jurisdiction in which
             the Individual Claimant resides at the time he/she submits his/her Individual Claim
             to the Trust; or (iii) the principal jurisdiction in which the claimant engaged in
             Regular Use of J&J Talc Products.


 -3-
Case 23-12825-MBK    Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                             Document    Page 9 of 57



       17.   “Claims Administrator” shall mean ARCHER Systems LLC and/or any other
             Talc Trust Claims Administrator subsequently appointed pursuant to the Plan, Trust
             Agreement, and these TDP.

       18.   “Claims Audit Program” shall mean the audit program, if any, developed and
             implemented by the Guarantor pursuant to Section 3.6.2.

       19.   “Claims Processor” shall mean Pattern Data, Inc., which shall be engaged by the
             Claims Administrator to assist in the development of procedures and protocols to
             implement these TDP effectively and efficiently.

       20.   “Common Benefit Fund” shall mean the common benefit fund established
             pursuant to Case Management Order No. 7(A) entered by the United States District
             Court for the District of New Jersey in the MDL.

       21.   “Common Benefit Fund Obligations” shall mean any common benefit fund
             obligations arising from the MDL, including obligations in respect of the Common
             Benefit Fund.

       22.   “Confirmation Order” shall mean the order of the Bankruptcy Court and the
             District Court acting jointly or the order of the District Court affirming an order
             entered separately by the Bankruptcy Court, in either case which order confirms the
             Plan pursuant to section 1129 of the Bankruptcy Code.

       23.   “Confirmed Claim” shall mean any Submitted Claim which the Claims
             Administrator determines has satisfied the Preliminary Evaluation Criteria.

       24.   “Cross-Trust Audit Program” shall mean the audit program developed and
             implemented by the Trust pursuant to Section 3.6.1.

       25.   “Date of Diagnosis” shall mean the date on which an Individual Claimant received
             the original pathologic diagnosis that is the basis of his/her Individual Claim.

       26.   “Deferral Request” shall have the meaning set forth in Section 4.3.3.

       27.   “Diagnostic Adjustment” shall mean the percentage by which the Initial Point
             Value is to be adjusted to account for the claim-specific disease subtype for each
             Individual Claim submitted to the Trust.

       28.   “Disallowed Claim” shall mean (i) any Individual Claim that, pursuant to Section
             4.3.6, is not entitled to progress to a Preliminary Evaluation pursuant to Section
             4.4.2, (ii) any Individual Claim that, pursuant to Section 4.4.2, is not entitled to
             become a Confirmed Claim and progress to the Standard Qualification Evaluation
             Process or the Accelerated Evaluation Process pursuant to Section 4.4.4 or Section
             4.4.5, respectively, (ii) any Individual Claim that is a Confirmed Claim but,
             pursuant to Section 4.4.3, is not entitled to become an Allowed Claim, (iv) any
             Individual Claim that is a Confirmed Claim proceeding under the Standard
             Qualification Evaluation Process but, pursuant to Section 4.4.4, is not entitled to

 -4-
Case 23-12825-MBK    Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                            Document    Page 10 of 57



             become an Allowed Claim, or (v) any Individual Claim that is a Confirmed Claim
             proceeding under the Accelerated Evaluation Process but, pursuant to Section 4.4.5,
             is not entitled to become an Allowed Claim, as applicable.

       29.   “Disallowed Claim Notice” shall mean a written notice delivered by the Trustees
             to an Individual Claimant informing such Individual Claimant that his/her
             Individual Claim has become a Disallowed Claim.

       30.   “Evaluation Tracks” shall mean the Standard Qualification Evaluation Process
             and/or the Accelerated Evaluation Process.

       31.   “Existing Claimants” shall mean, collectively, any Existing Mesothelioma
             Claimant, Existing Ovarian Cancer Claimant, Individual Claimant who submits an
             Other Talc Claim to the Trust which involved a Date of Diagnosis prior to April 1,
             2023, as well as any Indirect Derivative Talc Personal Injury Claimant that files a
             Proof of Claim asserting an Indirect Derivative Talc Personal Injury Claim by the
             Claims Bar Date.

       32.   “Existing Claims” shall mean all Talc Personal Injury Claims held by Existing
             Claimants, collectively.

       33.   “Existing Mesothelioma Claimants” shall mean any Mesothelioma Claimant who
             holds a Mesothelioma Claim involving a Date of Diagnosis before April 1, 2023
             that is not barred by applicable statutes of limitations.

       34.   “Existing Ovarian Cancer Claimants” shall mean any Individual Claimant who
             holds an Ovarian Cancer Claim involving a Date of Diagnosis prior to April 1, 2023
             that is not barred by applicable statutes of limitations.

       35.   “FIFO Payment Queue” shall mean the processing queue for the payment of
             Qualifying Claims and Other Approved Claims, as described in Section 7.4.

       36.   “FIFO Processing Queue” shall mean the processing queue for the evaluation of
             Submitted Claims, as described in Sections 4.3 and 4.4.

       37.   “Future Claims” shall mean all Talc Personal Injury Claims held by Future
             Claimants, collectively.

       38.   “Future Claimants” shall mean any claimants who submit a claim to the Trust
             who are not Existing Claimants and Governmental Holders.

       39.   “GAC Arbitration Award” shall have the meaning set forth in Section 8.4.

       40.   “GAC Arbitrator” shall have the meaning set forth in Section 8.4.

       41.   “GAC Mediator” shall have the meaning set forth in Section 8.3.



 -5-
Case 23-12825-MBK     Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                     Desc Main
                             Document    Page 11 of 57



       42.   “Governmental Action Trust” shall mean the Talc Personal Injury Governmental
             Action Claims Sub-Trust described in the Plan.

       43.   “Governmental Amounts” shall have the meaning set forth in Section 8.6.1.

       44.   “Governmental Holders” shall have the meaning set forth in Section 8.1.

       45.   “Guarantor” shall mean Johnson & Johnson and its permitted successors and
             assigns, collectively.

       46.   “Gynecologic Claim” shall mean any Individual Claim involving allegations that,
             as a result of her use of J&J Talc Products, the relevant Individual Claimant
             developed a cancer of the female gynecologic tract that is not an Ovarian Cancer.

       47.   “Identifying Information” shall mean, with respect to any Individual Claim, (a)
             the relevant Individual Claimant’s (i) full legal name, (ii) date of birth, (iii) physical
             and email address, and (iv) social security number, and (b) the name and physical
             address of the law firm and attorney serving as the relevant Individual Claimant’s
             representative (if any).

       48.   “Imerys/Cyprus Indirect Talc Personal Injury Claim” shall mean any Talc
             Personal Injury Claim held by any Imerys/Cyprus Party for contribution,
             reimbursement, subrogation, or indemnity under any Imerys/Cyprus Agreement or
             otherwise.

       49.   “Indirect Derivative Talc Personal Injury Claim” means any Talc Personal
             Injury Claim (other than Imerys/Cyprus Indirect Talc Personal Injury Claims) for
             contribution, reimbursement, subrogation, or indemnity (as those terms are defined
             by applicable non-bankruptcy law of the relevant jurisdiction), whether contractual
             or implied by law, and any other derivative Talc Personal Injury Claim (other than
             Imerys/Cyprus Indirect Talc Personal Injury Claims), whether in the nature of or
             sounding in contract, tort, warranty, or other theory of law, in respect of (i) the
             payment, whether pursuant to a settlement, judgment, or verdict, of any claim for
             or otherwise relating to death, injury, or damages that is asserted by or on behalf of
             an injured individual, the estate, legal counsel, relative, assignee, or other
             representative of any injured individual, or an individual who claims injury or
             damages as a result of the injury or death of another individual, or (ii) the payment
             of medical or other expenses of, or the provision of medical treatment, medical
             equipment, or other services or goods to, an injured individual, but for the
             avoidance of doubt, not a Claim for contribution, reimbursement, subrogation, or
             indemnity, or any other derivative Claim, in respect of legal fees or expenses
             incurred by the holder of such Talc Personal Injury Claim in connection with such
             payment.

       50.   “Indirect Derivative Talc Personal Injury Claimant” means a holder of an
             Indirect Derivative Talc Personal Injury Claim.



 -6-
Case 23-12825-MBK    Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                            Document    Page 12 of 57



       51.   “Individual Claim” shall mean any unliquidated Talc Personal Injury Claim other
             than an Imerys/Cyprus Indirect Talc Personal Injury Claim, an Indirect Derivative
             Talc Personal Injury Claim, a TPP Lien Claim, or a Governmental Action Claim.

       52.   “Individual Claimant” shall mean any holder of an Individual Claim. Unless
             otherwise specified herein, Individual Claimant also collectively refers to any
             relevant minors, decedents, or other derivative claimants, and the person(s)
             asserting the Individual Claim on behalf of such claimants and/or their estates in a
             representative capacity. For avoidance of doubt, Individual Claimant specifically
             excludes any person whose Individual Claim was filed and dismissed with
             prejudice or whose Individual Claim was adjudicated and resulted in a final
             judgment in favor of the Debtor and/or relevant defendant(s) prior to October 14,
             2021.

       53.   “Initial Cash Value of a Point” shall have the meaning set forth in Section 7.1.2.

       54.   “Initial Distribution” shall have the meaning set forth in Section 8.6.2.

       55.   “Initial Filing Date” shall mean the date on which the Trust first begins to accept
             claims.

       56.   “Initial Point Value” shall mean the initial Point Value assigned to an Individual
             Claim, as described in Section 5.2.1(A) or (B).

       57.   “J&J Talc Products” shall mean all products formulated, manufactured,
             distributed, and/or sold by the Debtor and/or any LTL Corporate Party containing
             talcum powder.

       58.   “Judgment Amount” shall have the meaning set forth in Section 6.3.

       59.   “Judicial Review Election” shall have the meaning set forth in Section 9.3.

       60.   “Judicial Review Election Deadline” shall have the meaning set forth in Section
             9.3

       61.   “Judicial Review Election Notice” shall have the meaning set forth in Section 9.3

       62.   “Length of Use Factor” shall have the meaning set forth in Section 5.2.2(C).

       63.   “Length of Perineal Use Factor” shall have the meaning set forth in Section
             5.2.1(C).

       64.   “Lien Resolution Administrator” shall mean ARCHER Systems LLC and/or any
             other Talc Trust Lien Resolution Administrator appointed pursuant to the Plan,
             Trust Agreement, and these TDP to assist in the resolution of Individual Claimants’
             relevant medical liens and Indirect Derivative Talc Personal Injury Claims.



 -7-
Case 23-12825-MBK     Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                     Desc Main
                             Document    Page 13 of 57



       65.   “Maximum Judgment Amount” shall mean, at the time a judgment is issued, the
             lesser of (i) the Maximum Value of the Individual Claim and (ii) the Judgment
             Amount. No further calculation of the Maximum Judgment Amount shall be made
             if the Cash Value of a Point is adjusted in the future.

       66.   “Maximum Value” shall mean the maximum amount any Individual Claimant
             may receive on account of his/her Individual Claim. The Maximum Value shall
             equal three times (3x) the applicable Adjusted Point Value for the relevant
             Individual Claim based on the Individual Claimant’s age on the Date of Diagnosis,
             disease type, and Diagnostic Adjustment, multiplied by the Cash Value of a Point
             in effect at the time of the calculation. For avoidance of doubt, Individual
             Claimants who receive the Maximum Value pursuant to these TDP are not eligible
             for any future supplemental payments based on adjustments to the Cash Value of a
             Point.

       67.   “Maximum Years of Regular Use” shall have the meaning set forth in Section
             5.2.2(C).

       68.   “Maximum Years of Regular Perineal Use” shall have the meaning set forth in
             Section 5.2.1(C).

       69.   “MDL” shall mean In re: Johnson & Johnson Talcum Powder Products Marking,
             Sales Practices and Products Liability Litigation (D.N.J.) (MDL No. 2738).

       70.   “Mesothelioma” shall mean the type of cancer that develops from the mesothelium
             (i.e., the thin layer of tissue that covers certain internal organs including the pleural,
             peritoneal, and pericardial cavities). For purposes of these TDP, this definition is
             limited to malignant mesothelioma that develops in the lining of the lungs, chest
             wall, abdomen, heart, and testes—i.e., pleural, peritoneal, pericardial or testicular
             mesothelioma. Notwithstanding the foregoing, “Mesothelioma” specifically
             excludes well-differentiated papillary mesothelioma (WDPM).

       71.   “Mesothelioma Claim” shall mean any Individual Claim involving allegations
             that the relevant Individual Claimant developed Mesothelioma in connection with
             such Individual Claimant’s use of J&J Talc Products.

       72.   “Mesothelioma Claimant” shall mean any Individual Claimant who asserts a
             Mesothelioma Claim.

       73.   “Mesothelioma Qualification Criteria” shall mean the requirements set forth in
             Section 4.4.4(B), which an Individual Claim alleging Mesothelioma must satisfy in
             order to be deemed a Qualifying Claim.

       74.   “MSA” shall have the meaning set forth in Section 4.1.2(B).

       75.   “Net Award Amount” shall mean the total Allowed Claim Amount, less any
             amounts required to satisfy any valid medical liens or claims (other than liens or
             claims held by Settling Third-Party Payors) against the Individual Claimant or

 -8-
Case 23-12825-MBK    Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                            Document    Page 14 of 57



             his/her property and less any attorneys’ fees and litigation expenses born by the
             Individual Claimant’s counsel.

       76.   “Non-J&J Talc Products” shall mean all talc-containing products which are not
             J&J Talc Products, collectively.

       77.   “Other Approved Claim” shall mean any Individual Claim that has satisfied the
             Accelerated Claims Criteria, as determined by the Claims Administrator pursuant
             to Section 4.4.5.

       78.   “Other Approved Claimant” shall mean any Individual Claimant who holds an
             Other Approved Claim.

       79.   “Other Talc Claims” shall mean any Individual Claim that is not an Ovarian
             Cancer Claim or Mesothelioma Claim.

       80.   “Ovarian Cancer” shall mean epithelial cancer that originates in the ovaries,
             fallopian tubes, and/or peritoneum (i.e., primary peritoneal cancer), with serous,
             endometrioid, clear cell, or undifferentiated subtypes (or a mixture of subtypes that
             includes one or more of these subtypes). This definition specifically includes
             tumors designated as “borderline” or of “low malignant potential.”

       81.   “Ovarian Cancer Claim” shall mean any Individual Claim involving allegations
             that the relevant Individual Claimant developed Ovarian Cancer in connection with
             such Individual Claimant’s use of talc or talc-containing products.

       82.   “Ovarian Cancer Claimant” shall mean any Individual Claimant who asserts an
             Ovarian Cancer Claim.

       83.   “Ovarian Cancer Qualification Criteria” shall mean the requirements set forth
             in Section 4.4.4(A), which an Ovarian Cancer Claim must satisfy in order to be
             deemed a Qualifying Claim.

       84.   “Pending MSA Determination” shall have the meaning set forth in Section
             4.1.2(C).

       85.   “Point Value” shall mean the points allotted to an Individual Claim pursuant to the
             points-based claim valuation process described in Article 5 of these TDP.

       86.   “Preliminary Evaluation” shall mean the preliminary evaluation process
             described in Section 4.4.2, pursuant to which the Claims Administrator shall
             determine whether a Submitted Claim constitutes a Confirmed Claim and should
             be evaluated via either the Standard Qualification Evaluation Process or the
             Accelerated Evaluation Process.

       87.   “Preliminary Evaluation Criteria” shall mean the four (4) preliminary criteria set
             forth in Section 4.4.2 which Individual Claims must satisfy in order to progress to


 -9-
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                                Document    Page 15 of 57



                 either the Standard Qualification Evaluation Process or Accelerated Evaluation
                 Process.

          88.    “Proof of Claim” shall have the meaning set forth in Section 4.3.5.

          89.    “Qualification Criteria” shall mean the Ovarian Cancer Qualification Criteria and
                 the Mesothelioma Qualification Criteria, collectively.

          90.     “Qualifying Claim” shall mean any Individual Claim that the Claims
                 Administrator determines, pursuant to Sections 4.4.4(A) or 4.4.4(B), has satisfied
                 the applicable Qualification Criteria.

          91.    “Qualifying Claimant” shall mean any Individual Claimant whose Individual
                 Claim has been determined to be a Qualifying Claim.

          92.    “Reconsideration Request” shall have the meaning set forth in Section 6.1.1.

          93.    “Regular Non-J&J Talc Perineal Use” shall mean an Individual Claimant’s
                 Regular Use of Non-J&J Talc Products in her own perineal area after puberty.

          94.    “Regular Non-J&J Talc Use” shall mean an Individual Claimant’s Regular Use
                 of Non-J&J Talc Products on his/her own body, established by sworn testimony or
                 affidavit.

          95.    “Regular Perineal Use” shall mean an Individual Claimant’s Regular Use of J&J
                 Talc Products in her own perineal area after puberty, established by sworn
                 testimony or affidavit.

          96.    “Regular Use” shall mean, with respect to the use of J&J Talc Products or Non-
                 J&J Talc Products, as applicable, an Individuals Claimant’s use thereof on her own
                 perineal area after puberty or his/her own body, as applicable, at least fifty (50)
                 times per year for a minimum of four (4) consecutive years, established by sworn
                 testimony or affidavit.

          97.    “Scheduled Value” shall mean the final scheduled Point Value for any Qualifying
                 Claim or Other Approved Claim, as determined by the Claims Administrator
                 pursuant to Sections 5.2.1(D) and 5.2.2(D), as applicable.

          98.    “Scheduled Value Notice” shall have the meaning set forth in Section 5.1.

          99.    “Settlement Amount” shall have the meaning set forth in Section 8.2.

          100.   “Settlement Offer” shall have the meaning set forth in Section 8.2.

          101.   “Settlement Trust” shall mean the Talc Personal Injury Tort Claims Sub-Trust
                 described in the Plan.




 - 10 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 16 of 57



          102.   “Standard Qualification Evaluation Process” shall mean the claims-resolution
                 process in which an Individual Claim is evaluated as described in Sections 4.4.3
                 and 4.4.4 of these TDP.

          103.   “Submission Requirements” shall have the meaning set forth in Section 4.3.5.

          104.   “Submitted Claim” shall mean any Individual Claim that has been submitted to
                 the Trust pursuant to these TDP.

          105.   “Submission Procedures” shall mean the procedures developed and adopted by
                 the Trustees, in conjunction with the Claims Administrator and Claims Processor,
                 and approved by the TAC and FCR, and described in Section 4.3.

          106.   “TAC” shall mean the Trust Advisory Committee, which shall ensure that these
                 TDP are properly implemented and the Trust properly administered in accordance
                 with the terms of the Plan and the Trust Agreement. The TAC shall at all times
                 include at least five (5) attorneys, each from a different law firm who actively
                 represents Individual Claimants. The Guarantor may, through its counsel, assist
                 the TAC, provided that such assistance shall be in an advisory role only.

          107.   “Talc Personal Injury Claimant” shall mean any holder of a Talc Personal Injury
                 Claim.

          108.   “TDP” shall have the meaning set forth in the preamble.

          109.   “Time Since Last Use Factor” shall have the meaning set forth in
                 Section 5.2.1(C).

          110.   “Trust” shall have the meaning set forth in the preamble.

          111.   “Trust Agreement” shall have the meaning set forth in the preamble.

          112.   “Trustees” shall have the meaning set forth in the preamble.

          113.   “Years of Regular Use” shall have the meaning set forth in Section 5.2.2(C).

          114.   “Years of Regular Perineal Use” shall have the meaning set forth in
                 Section 5.2.1(C).


                                    TDP ADMINISTRATION

 3.1      General Administration

                 Coordination of Trustees, Claims Administrator & Claims Processor

          The Trust shall utilize the services of the Claims Administrator and Claims Processor to
 assist in the evaluation of claims submitted to the Trust. The Trustees shall implement these TDP
 to resolve any and all existing and future Talc Personal Injury Claims, including Individual Claims,
 - 11 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                                Document    Page 17 of 57



 Indirect Derivative Talc Personal Injury Claims, TPP Lien Claims and Governmental Action
 Claims pursuant to the Plan and Trust Agreement, with the assistance of the Claims Administrator
 and the Claims Processor. Further, the Trustees, the Claims Administrator, and the Claims
 Processor shall consult and coordinate with each other to develop and implement administrative
 and background processes intended to (i) provide the Trustees with all information necessary to
 implement these TDP, (ii) streamline the Submission Procedures for Individual Claimants, (iii)
 ensure maximally efficient evaluation of the Individual Claims and the Reconsideration Requests,
 (iv) ensure proper application of the Qualification Criteria and audit provisions described herein,
 (v) limit the use of the Trust’s assets to uses permitted by the Plan, and (vi) promote prompt
 payment of Allowed Claims.

                Preparation of and Deadline for Distribution of Submission Procedures

        Within sixty (60) days following entry of the Confirmation Order, the Trustees shall
 propose detailed Submission Procedures required by these TDP to the TAC and FCR, whose
 approvals are required prior to distribution of the Submission Procedures to counsel for Individual
 Claimants. Such approvals shall not be unreasonably withheld; however, if either TAC or FCR
 approval is not obtained, the Trustees are authorized to seek an order of the Bankruptcy Court
 approving the proposed Submission Procedures. Promptly after approval, the Trustees shall make
 the Submission Procedures publicly available on a website addressing the same.

        To effectuate this Section and the other terms of these TDP, immediately upon entry of the
 Confirmation Order, the Trustees, the Claims Administrator, and the Claims Processor shall
 coordinate with respect to the development, procurement, documentation, and finalization of the
 comprehensive platforms, systems, procedures, rules, documents, and actions necessary to
 implement these TDP.

                Consent & Consultation Requirements

        The Trustees shall administer the Trust and implement these TDP in consultation with the
 TAC, the FCR, and the Guarantor. Pursuant to the Plan, the Trust Agreement, and these TDP, the
 Trustees, in consultation with the Guarantor, shall (i) obtain the consent of the TAC and FCR on
 such matters as are required herein or in the Trust Agreement, including with respect to any
 proposed substantive amendment, change, or modification to the terms of these TDP, and (ii)
 consult and coordinate with the Claims Administrator and Claims Processor with respect to the
 submission, evaluation, and processing of Individual Claims.

        In the event that consultation with or consent of the TAC and FCR is required, the Trustees
 shall provide written notice to the TAC and each of its members and the FCR, the Claims
 Administrator, and the Claims Processor. The Trustees shall not proceed with any matter requiring
 consent or consultation unless and until the parties have engaged in the Consultation Process or
 the Consent Process each as defined and described in the Trust Agreement. Neither the TAC nor
 the FCR shall unreasonably withhold consent sought by the Trustees pursuant to these TDP;
 however, if the Trustees are unable to obtain consent required by these TDP, then the Trustees are
 authorized to seek an order of the Bankruptcy Court approving the proposal or matter at issue,
 including any substantive amendment, change, or modification to the terms of these TDP.


 - 12 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                Document    Page 18 of 57



        Notwithstanding the foregoing, absent Bankruptcy Court approval after appropriate notice
 and opportunity to object, neither the Trustees, Claims Administrator, Claims Processor, Lien
 Resolution Administrator, TAC nor FCR may amend these TDP in any material manner that is
 inconsistent with the Plan.

 3.2      Appropriateness of Costs

        The Trustees shall seek to ensure that the costs incurred by the Trust with respect to
 evaluating and investigating the validity of the Claim Materials submitted by an Individual
 Claimant are necessary and reasonable in light of the expected benefit to the Trust. Nothing herein,
 however, shall prevent the Trustees from either (i) contesting the validity of any Individual Claim,
 whatever the costs, or (ii) declining to accept the Claim Materials from sources determined to be
 deceptive, fraudulent, or otherwise unreliable.

         The Trustees shall periodically, and at least annually, review the cost of evaluating and
 investigating the Submitted Claims and take steps to reduce such costs where feasible and
 appropriate, while still ensuring that the Trust’s obligations pursuant to the Plan, the Trust
 Agreement, and these TDP are appropriately satisfied.

 3.3      Lien Resolution

                In General

         With respect to any Individual Claim of a Specified Insured Individual that becomes an
 Allowed Claim pursuant to these TDP, all related medical liens and claims shall be resolved
 through the Talc Personal Injury TPP Lien Claims Sub-Trust, using Talc Personal Injury TPP Lien
 Claims Sub-Trust Funds, with a corresponding reduction to the Allowed Claim Amount of such
 Allowed Claim to be made by the Trustees in coordination with the Lien Resolution Administrator.
 In determining the appropriate lien withholding and/or reduction amount to be allocated to each
 Allowed Claim, the Trustees and Lien Resolution Administrator shall reduce the amount allocated
 to each Qualifying Ovarian Cancer Claim by the amount necessary for the TPP Lien Claims Sub-
 Trust to satisfy relevant lien claims. With respect to all other Individual Claims that are similar to
 Individual Claims of Specified Insured Individuals and become Allowed Claims, the Lien
 Resolution Administrator shall endeavor to ensure that the final lien amounts withheld from or
 allocated to each Allowed Claim are substantially the same as the lien withholding and/or
 reduction amount to allocated to the similar Allowed Claims of Specified Insured Individuals. To
 that end, the Lien Resolution Administrator is authorized to individually or collectively resolve
 valid medical liens and claims that are asserted against holders of such other Individual Claims,
 including TPP Lien Claims, provided that any collective resolution of such liens or claims shall be
 limited to such Individual Claims that have common characteristics (e.g., the same disease). The
 Trustees shall seek to ensure that each such collective resolution of valid medical liens or claims
 by the Lien Resolution Administrator is substantially the same as each similar collective
 resolution, and as similar individual resolutions taken as a whole.

        For the avoidance of doubt, medical liens that may be resolved through the TPP Lien
 Claims Sub-Trust funds by the Lien Resolution Administrator as described above shall be subject



 - 13 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 19 of 57



 to this Section 3.3 and not the provisions related to the resolution of Indirect Derivative Talc
 Personal Injury Claims in Article 9 herein.

                Procedures

         Upon completion of (i) the applicable evaluation process for each Allowed Claim, and (ii)
 resolution of any Reconsideration Request of the Claim Administrator’s determinations, the
 Settlement Trust shall remit the Allowed Claim Amount to a segregated account under the control
 of the Lien Resolution Administrator pending the satisfaction and release of all related medical
 liens and claims, TPP Lien Claims, Indirect Derivative Talc Personal Injury Claims, and the
 resolution of all related administrative issues, after which time payment to the relevant Individual
 Claimant and/or his/her respective counsel will be made. Subject to the terms of the Trust
 Agreement, the Lien Resolution Administrator shall, among other things, be responsible for the
 distribution of net proceeds for Allowed Claims to the appropriate Allowed Claimants. All Talc
 Personal Injury Trust Expenses related to TPP Lien Claims shall be paid using Talc Personal Injury
 TPP Lien Claims Sub-Trust Funds.

         On or as soon as practicable following the Effective Date and the submission of any
 Individual Claim to the Trust, the Lien Resolution Administrator shall begin working to quantify
 any and all known medical liens or claims, including any applicable Indirect Derivative Talc
 Personal Injury Claims (other than liens or claims asserted by Settling Third-Party Payors in
 respect of Individual Claims of the Specified Insured Individuals) arising from or related to any
 Individual Claims, with the goal of negotiating the satisfaction of any such liens or claims as to
 each Allowed Claim by the time the Trustees have finalized the relevant Allowed Claim Amount.
 The Lien Resolution Administrator shall be responsible for the satisfaction of any and all such
 known and valid medical liens and claims, including TPP Lien Claims, and Indirect Derivative
 Talc Personal Injury Claims arising from or related to each Allowed Claim from the Talc Personal
 Injury TPP Lien Claims Sub-Trust Funds or Allowed Claim Amounts being held in the segregated
 accounts referenced above. The Lien Resolution Administrator shall provide written verification
 of the same to the Trustees and the Guarantor prior to distributing the remaining portion of the
 Allowed Claim Amount to the relevant Individual Claimant and/or his/her counsel. Neither the
 Debtor, the Reorganized Debtor, the Guarantor, nor any LTL Corporate Party shall bear any
 responsibility for payment of any Individual Claimant’s liens.

 3.4      Trust Disclosure of Information

         Periodically, and at least annually, the Trust shall publish a report summarizing the
 Individual Claims resolved pursuant to these TDP, including breakdowns with respect to (i) the
 types of Individual Claim involved; (ii) application of the Standard Qualification Evaluation
 Process, Accelerated Evaluation Process, and/or any ADR Procedures, settlements, or litigations
 described herein, and (iii) the average Allowed Claim Amounts by type of Individual Claim,
 specific category of injury within the Qualification Criteria and Accelerated Claims Criteria. The
 Trustees also shall provide the Guarantor, the TAC, and the FCR with (i) a more detailed version
 of the above-mentioned report that also includes breakdowns as to Claimant’s Jurisdiction and the
 counsel representing Individual Claims submitted to the Trust, and (ii) detailed monthly status
 reports regarding the evaluation status of Allowed Claims, as well as the valuation and payment


 - 14 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                                Document    Page 20 of 57



 status of all Approved Claims and Qualifying Claims for which Scheduled Values have been
 determined.

 3.5      Notice Requirements

         Following entry of the Confirmation Order, the Trustees shall, in consultation with the
 Guarantor, coordinate with the Claims Administrator to develop formal procedures for providing
 notice to Individual Claimants of determinations made pursuant to these TDP, which shall be
 adopted by the Trust upon consent of the TAC and FCR—provided that such consent shall not be
 unreasonably withheld, and that if such consent is not obtained, the Trustees are authorized to seek
 an order of the Bankruptcy Court authorizing the Trustees to develop such procedures. Such notice
 procedures must include both hard copy and electronic methods of notice and incorporate the
 applicable notice deadlines as set forth in these TDP.

         Individual Claimants shall be provided with notice pursuant to the notice requirements
 adopted by the Trust after any determination is made by either the Claims Administrator or
 Trustees with respect to Individual Claims. This includes the following: (i) determinations that
 insufficient information has been submitted to the Trust to further evaluate an Individual Claim;
 (ii) determinations as to whether any Submitted Claim satisfied the Preliminary Evaluation
 Criteria; (iii) determinations as to whether any Confirmed Claim satisfies the required
 Qualification Criteria or Accelerated Claims Criteria, whichever is applicable; (iv) determinations
 as to whether or not any Individual Claim is an Allowed Claim; (v) determinations as to the
 Scheduled Value and/or Allowed Claim Amount for an Individual Claim; and (vi) determinations
 regarding the outcome of any Reconsideration Request.

 3.6      Auditing

                Cross-Trust Audit Program

         The Trustees, in consultation with the Guarantor, and with the consent of the TAC and
 FCR, shall develop and implement a Cross-Trust Audit Program, which shall include methods for
 auditing the reliability of medical evidence, as well as the reliability of evidence of usage of talc
 or talc-containing products for which the Trust has legal responsibility and the reliability of
 reporting on other asbestos exposure. Neither the TAC nor the FCR shall unreasonably withhold
 consent sought by the Trustees related to the development and/or implementation of the Cross-
 Trust Audit Program; however, if the Trustees are unable to obtain the required consent, then the
 Trustees are authorized to seek an order of the Bankruptcy Court approving the development
 and/or implementation of such Cross-Trust Audit Program. This Cross-Trust Audit Program will
 be designed to compare Individual Claims submitted to the Trust against claims filed with any
 other bankruptcy trusts at the sole discretion of the Auditor. Further, as part of its coordination
 with other bankruptcy trusts, the Trust shall fully comply with reasonable subpoenas served against
 it by other bankruptcy trusts or mass-tort trusts seeking to conduct a similar audit.

        By submitting an Individual Claim to the Trust, regardless of the treatment sought, an
 Individual Claimant shall be deemed to have affirmatively consented to (i) any release by the Trust
 of necessary and sufficient information sought either through the Cross-Trust Audit Program or in
 response to any subpoena served against the Trust; (ii) any release by any other bankruptcy or

 - 15 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 21 of 57



 mass-tort trusts that participate in the Cross-Trust Audit Program or the Trust has served a
 subpoena on, to the entity overseeing the Cross-Trust Audit Program (the “Auditor”) of all
 information submitted to such other trusts by or on behalf of the relevant Individual Claimant
 pursuant to the provisions of the Cross-Trust Audit Program, or subpoena, if applicable, and (ii)
 disclosure by or to the Auditor of the status, amount, and date of payment made with respect to the
 claim asserted or filed by the relevant Individual Claimant to the Trust or any other bankruptcy or
 mass-tort trust.

         To the extent that the Trustees believe it is relevant, nothing herein shall preclude the Trust
 or the Auditor, in the Trustees’ sole discretion, from reviewing or taking into consideration filed
 state or federal court complaints, available discovery from any such case, or other claims filed
 against other mass-tort trusts. Any Individual Claimant shall cooperate with and provide the Trust
 with (i) any non-privileged information reasonably requested by the Trust, and (ii) upon request
 by the Trust, authorization to obtain from other mass tort trusts any information such claimant has
 provided to such other trusts.

                Claims Audit Program

         Separate from the Cross-Trust Audit Program, the Guarantor is authorized, but not
 required, under these TDP to develop and implement its own annual Claims Audit Program, and
 to (i) audit up to ten percent (10%) of the determinations by the Claims Administrator and/or
 Trustees with respect to any and all Individual Claims submitted to the Trust, which may be either
 based on 10% of the total universe of Submitted Claims, or be a stratified subset of claims of
 particular interest to the Guarantor, and/or (ii) audit any determinations by the Claims
 Administrator and/or Trustees with respect to any and all Individual Claims submitted to the Trust
 where the Individual Claimant is represented by a law firm or attorney whom the Trustees have
 previously determined submitted fraudulent or deceptive material to the Trust. Any Claims Audit
 Program pursuant to this Section shall be implemented by Barnes & Thornburg, LLP (or such
 other Person as the Guarantor may designate to the Trustee in writing), as the Guarantor’s agent.
 Except as otherwise detailed herein, the Guarantor has the sole discretion regarding whether and/or
 when to implement such Claims Audit Program. The Guarantor shall bear the costs associated
 with implementing the Claims Audit Program, except in cases where the Claims Audit Program
 reveals that deception or fraudulent information has been provided to the Trust, in which case the
 Trust shall reimburse the Guarantor for such costs.

                Consequences of Audit Programs

         In the event that the Trustees determine that an audit under either the Cross-Trust Audit
 Program or the Claims Audit Program reveals that deceptive or fraudulent information has been
 provided to the Trust with respect to an Individual Claim, the Trust may penalize the relevant
 Individual Claimant and his/her counsel by (a) disallowing the Individual Claim, (b) seeking to
 require the source of such deceptive or fraudulent information, including the Individual Claimant
 and his/her counsel, to reimburse the Trust and/or Guarantor for all costs incurred in connection
 with such audit and any future audit or audits of the Individual Claim, including future audits of
 Individual Claims subsequently submitted by such Individual Claimant, (c) reordering the priority
 of payment of the relevant Individual Claimant, and (d) any other appropriate action, including
 seeking sanctions. The Trust may also place reasonable restrictions, limitations, or affirmative

 - 16 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                                Document    Page 22 of 57



 requirements on Individual Claims submitted to the Trust in the future by Individual Claimants
 represented by any attorney and/or law firm who previously represented an Individual Claimant
 that was determined to have submitted deceptive or fraudulent information to the Trust, including
 (a) requiring that the attorney and/or law firm representing such Individual Claimants pay a $1,000
 penalty for each new Individual Claim submitted to the Trust, (b) subjecting all such Individual
 Claims to audit under the Cross-Trust Audit Program and/or the Claims Audit Program, provided
 that such audit shall not prejudice the relevant Individual Claimant with respect to the processing
 or evaluation of his/her Individual Claim, or, to the extent such Individual Claim is deemed an
 Allowed Claim, as to the timing of payment to the Individual Claimant.

         Individual Claims determined to be subject to heightened scrutiny pursuant to any part of
 these TDP shall be automatically subject to audit under either the Cross-Trust Audit Program or
 the Claims Audit Program, or both. However, taken alone, the fact that an Individual Claim is
 subject to heightened scrutiny shall not affect or prejudice the relevant Individual Claimant,
 including with respect to the processing, evaluation, or payment of such Individual Claim or its
 place in the FIFO Processing Queue or the FIFO Payment Queue.

        Claim Submissions must be signed under the pains and penalties of perjury and, to the
 maximum extent permitted under applicable law, the submission of a fraudulent Claim Submission
 may violate the criminal laws of the United States, including the criminal provisions applicable to
 Bankruptcy Crimes, including 18 U.S.C. § 152, and may subject those responsible to criminal
 prosecution in any federal court of competent jurisdiction.


                      INDIVIDUAL CLAIMS ALLOWANCE PROCESS

 4.1      General Principles

                Recovery Only With Respect to a Single Individual Claim

         An Individual Claimant may assert no more than one Individual Claim to the Trust, and
 may recover only in respect of such Individual Claim from the Trust, based on the Individual Claim
 asserted at the time he/she submitted the claim to the Trust. For the avoidance of doubt, after
 submitting his/her claim to the Trust, an Individual Claimant may not allege or seek to assert an
 additional or different Individual Claim, with the exception that an Individual Claimant may at any
 time after the date his/her Individual Claim was submitted to the Trust, but before disallowance or
 payment of such Individual Claim, as applicable, request that his/her Individual Claim be
 processed pursuant to the Accelerated Evaluation Process, as set forth in Section 4.4.5.

         Individual Claims properly deferred pursuant to Section 4.3.3 shall be evaluated based on
 the date of the conclusion of the deferral period.

                Treatment of Individual Claims Previously Resolved

                A.     Individual Claims Previously Settled but Unpaid

        If, prior to October 14, 2021, (i) an Individual Claimant submitted his/her Individual Claim
 to the Debtor and/or any LTL Corporate Party for settlement consideration, and thereafter (ii)

 - 17 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 23 of 57



 reached an agreement with the Debtor and/or any LTL Corporate Party to settle said Individual
 Claim at an amount certain, but (iii) the Debtor and/or any LTL Corporate Party were unable to
 process the related transfer of settlement funds before October 14, 2021, then such Individual
 Claimant may choose to either: (a) submit his/her Individual Claim to the Trust for evaluation
 pursuant to the procedures set forth in these TDP; or (b) agree to accept the amount certain that
 was previously agreed upon to settle his/her claim. In the event that an Individual Claim is
 submitted to the Trust pursuant to this Section, the prior settlement agreement shall be immediately
 deemed null and void and relevant Individual Claimant’s right to recover pursuant to such prior
 agreement waived.

                B.      Individual Claims Previously Settled and Paid

         Except as otherwise expressly provided in Section 4.1.2(A) or Section 4.1.2(C), any
 Individual Claimant who previously (i) reached a settlement with the Debtor or any LTL Corporate
 Party related to an Individual Claim, (ii) settled in principle subject to a prepetition master
 settlement agreement (“MSA”), (iii) submitted a release, or (iv) received payment with respect to
 his/her Individual Claim may not receive any payment from the Trust. Further, any Individual
 Claim being submitted on behalf of or derivative of a previously released Individual Claimant,
 including any Indirect Derivative Talc Personal Injury Claim, may not receive any payment from
 the Trust. As part of the establishment of the Trust, the Debtor will provide the Trust and the
 Trustees with a list of all Individual Claimants subject to this Section, their Identifying
 Information, and basic settlement information.

                C.      Individual Claims Subject to Pending MSA Determination

         If, prior to October 14, 2021, (i) an Individual Claimant submitted his/her Individual Claim
 to the Debtor and/or any LTL Corporate Party for settlement consideration, (ii) such Individual
 Claim is subject to an MSA, but (iii) a determination as to whether said Individual Claim qualifies
 for a settlement has not yet been made (a “Pending MSA Determination”), then such Individual
 Claimant may not submit his/her Individual Claim for valuation pursuant to these TDP until such
 Pending MSA Determination is made. Individual Claims that are subject to a Pending MSA
 Determination and satisfy clauses (i) and (ii) of this paragraph shall be tolled pursuant to Section
 4.2.2(C)(i) below.

         If, following a Pending MSA Determination, an Individual Claim is determined to satisfy
 the qualification criteria set forth in the relevant MSA (regardless of whether such Individual
 Claim has received his/her final allocation pursuant to the MSA), then such Individual Claim is
 subject to Section 4.1.2(A) above, unless such MSA requires that such Individual Claim receive
 distributions from a qualified settlement fund. However, if, following a Pending MSA
 Determination, the Individual Claim is rejected as ineligible for settlement under the relevant
 MSA, then such Individual Claim is subject to Section 4.1.2(D) below.

                D.      Individual Claims Previously Rejected or Dismissed

        Any individual who filed an Individual Claim in any state or federal court prior to October
 14, 2021, which was thereafter dismissed with prejudice shall not be eligible to recover any
 payment whatsoever from the Trust.

 - 18 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 24 of 57



        Individual Claims which were filed before October 14, 2021, and thereafter either (i)
 dismissed without prejudice or (ii) rejected as ineligible under an MSA may be submitted to the
 Trust for evaluation pursuant to these TDP, but shall be subject to heightened scrutiny by the
 Trustees and the Claims Administrator during their evaluation. For the avoidance of doubt, such
 Individual Claimant must submit his/her Individual Claim to the Trust for evaluation pursuant to
 the procedures set forth in these TDP, just as any other Individual Claimant not subject to Section
 4.1.2. Failure to submit such an Individual Claim to the Trust in accordance with the submission
 deadline and Submission Procedures in Sections 4.2 and 4.3, respectively, shall result in
 disallowance of such Individual Claim.

                E.      Individual Claims Otherwise Subject to Final Judgment

         Any individual who filed an Individual Claim in any state or federal court, and whose
 Individual Claim was adjudicated and resulted in a final unfavorable judgment (e.g., a defense
 verdict) shall not be eligible to recover any payment whatsoever from the Trust.

 4.2      Submission Deadlines

                Deadline to Submit Existing Claims to Trust

        Existing Claimants must submit their Individual Claims to the Trust within one-hundred
 twenty (120) days of the Trust’s distribution of its rules and Submission Procedures. 1 If an
 Individual Claimant fails to submit his/her Existing Claim or seek a deferral pursuant to Section
 4.3.3 within this time period, such Individual Claimant shall be deemed to have waived the right
 to submit his/her Existing Claim or otherwise seek compensation from the Trust.

                Effect of Statutes of Limitations and Repose

                A.      Existing Claims Previously Filed in Tort System

         For each Individual Claim submitted to the Trust that was filed in the tort system against
 the Debtor and/or any other Protected Party prior to October 14, 2021, to be considered timely and
 therefore eligible to pursue compensation via the procedures set forth in Article 4, the Individual
 Claim must have been timely filed pursuant to the applicable federal or state statutes of limitations
 and/or repose that were in effect at the time the related case was filed in the tort system.

                B.      Unfiled Existing Claims

         For each Existing Claim submitted to the Trust that was not filed in the tort system against
 the Debtor and/or any other Protected Party prior to October 14, 2021, to be considered timely and
 therefore eligible to pursue compensation via the procedures set forth in Article 4, the Individual
 Claim must not be time-barred under the applicable federal or state statutes of limitations as listed

 1
   In the event that the Trustees fail to include an Existing Claimant or his/her counsel in the initial
 distribution of the Submission Procedures, then the deadline for any such Existing Claimant to
 submit his/her Individual Claim to the Trust shall instead be the earlier of (i) one-hundred twenty
 (120) days after the Submission Procedures are in fact distributed to the Existing Claimant or
 his/her counsel, or (ii) within three (3) years of the Initial Filing Date.
 - 19 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 25 of 57



 in Exhibit [●] to these TDP. The applicable federal or state statutes of limitations shall be deemed
 to have begun running as of May 19, 2020, the date that J&J publicly announced the
 discontinuation of the sale of talc-containing products, including J&J Talc Products.

                C.      Tolling and Timeliness

                        (i)     Existing Claims

         The running of the applicable statute of limitations or repose shall be considered tolled as
 of the earliest of: (a) October 14, 2021; (b) the actual filing of a claim against Debtor and/or any
 other Protected Party in the tort system prior to the October 14, 2021; or (c) the date specified in
 any tolling agreement between the relevant Individual Claimant and the Debtor or any LTL
 Corporate Party; provided such tolling was still in effect as of April 4, 2023. Any Existing Claim
 that meets any of these three tolling provisions shall be treated as timely filed so long as (i) the
 claim was not barred by the applicable federal or state statute of limitations or repose at the time
 of the relevant tolling event, and (ii) the Submitted Claim is submitted to the Trust within one
 hundred twenty (120) days after the Initial Filing Date.

                        (ii)    Future Claims

         Any Future Claim shall be treated as timely filed if it is submitted to the Trust: (i) within
 three (3) years of the Initial Filing Date, (ii) within two (2) years of the relevant Date of Diagnosis,
 or (iii) within applicable state statutes of limitations, as listed in Exhibit [●] to these TDP,
 whichever is later.

 4.3      Submission Procedures

        The Submission Procedures shall be developed and adopted by the Trustees, in consultation
 with the Guarantor, the Claims Administrator, and the Claims Processor and with the approval of
 the TAC and FCR. As provided in Section 3.1.2, such approvals shall not be unreasonably
 withheld; however, if either the TAC or FCR approval is not obtained, the Trustees are authorized
 to seek an order of the Bankruptcy Court approving the proposed Submission Procedures. The
 Submission Procedures shall include, but not be limited to, to the following:

                FIFO Processing Queue

         The Trust shall order all claims to be reviewed for processing purposes on a FIFO basis in
 the order each Claim Submission is received, except as otherwise provided herein. For all
 Individual Claims submitted to the Trust on or before the date that is one hundred and twenty (120)
 days after the Initial Filing Date, an Individual Claimant’s position in the FIFO Processing Queue
 shall be determined based on the earliest of (i) the date prior to the Petition Date that the Individual
 Claimant filed a related case against Debtor or any other Protected Party in the tort system; (ii) the
 date prior to the Petition Date that the Individual Claimant filed a related case against another
 defendant in the tort system, if at the time the related claim against was subject to a tolling
 agreement with Debtor or any LTL Corporate Party; (iii) the date the Individual Claim is submitted
 to the Trust; (iv) the date after the Petition Date but before the Effective Date that a Proof of Claim
 was filed by the Individual Claimant against the Debtor in the Debtor’s first chapter 11 case; and


 - 20 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                Document    Page 26 of 57



 (v) the date a ballot was submitted on behalf of the Individual Claimant for purposes of voting to
 accept or reject the Plan pursuant to voting procedures approved by the Bankruptcy Court.

         For all Individual Claims involving a Claim Submission submitted more than one hundred
 and twenty (120) days after the Initial Filing Date, an Individual Claimant’s position in the FIFO
 Processing Queue shall be determined based on the date that the Individual Claim was properly
 and completely submitted to the Trust. If any Claim Submissions are filed on the same date, an
 Individual Claimant’s position in the applicable FIFO Processing Queue vis-à-vis such other same-
 day Claim Submissions shall be determined based on the alleged Date of Diagnosis for each, with
 the earlier Date of Diagnosis having priority over the later. In the event that two or more Individual
 Claims are submitted to the Trust on the same date and also have the same Date of Diagnosis, the
 Individual Claimant with the earliest date of birth shall receive priority in the FIFO Processing
 Queue over one with a later date of birth.

                Withdrawal of Submitted Claims

          An Individual Claimant may, at any time after submitting his/her Individual Claim to the
 Trust, withdraw his/her Submitted Claim, by providing written notice to the Trust. The related
 Individual Claimant shall retain the right to file a new Individual Claim after withdrawal of the
 first; however, any such subsequent Claim Submission shall be evaluated the same as a new Claim
 Submission and otherwise unrelated to the first, except that (i) it shall be subject to heightened
 scrutiny by Claim Administrator, Claim Processor, and Trustees, and (ii) the Individual Claimant’s
 place in the FIFO Processing Queue shall be determined only based on the most recent date that
 the Individual Claim was submitted to the Trust (i.e., the Individual Claim is moved to the end of
 the queue). For the avoidance of doubt, the one hundred and twenty (120) day deadline to submit
 an Existing Claim pursuant to Section 4.2.1 shall apply to any Individual Claim submitted by the
 Individual Claimant, including a Submitted Claim that was previously withdrawn.

                Deferral of Submitted Claims

         An Individual Claimant also may request that the Trust defer processing his/her Submitted
 Claim for up to three (3) years (a “Deferral Request”) so long as the Deferral Request is made (i)
 in writing pursuant to any procedures adopted by the Trust for such requests, and (ii) before the
 date the Trustees provide notice to the Individual Claimant either that his/her Submitted Claim is
 being disallowed, or that the Submitted Claim is an Allowed Claim and of the Scheduled Value
 proposed by the Claims Administrator. For the avoidance of doubt, an Individual Claimant may
 make only one Deferral Request.

         The Trust shall approve any properly submitted Deferral Request; however, the Trust may
 only defer a Submitted Claim for a maximum of three (3) years from the date the Individual Claim
 was originally submitted to the Trust, without such deferral affecting the status of the Submitted
 Claim for statute of limitations or repose purposes. Any Individual Claimant who makes a Deferral
 Request shall retain his/her original place in the applicable FIFO Processing Queue only until the
 earliest of (i) his/her written request that the Trust end the deferral and proceed with processing
 the relevant Individual Claim, (ii) the expiration of the deferral, or (iii) three (3) years after the
 date the deferred Individual Claim was originally submitted to the Trust.


 - 21 -
Case 23-12825-MBK       Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                               Document    Page 27 of 57



               Non-Responsive Individual Claimants

         Except for those Individual Claimants who (a) have submitted a Reconsideration Request,
 or (b) (i) hold Submitted Claims as a representative on behalf of a deceased or incompetent
 individual, and (ii) are required to obtain court approval before accepting any Scheduled Value
 proposed by Trust, Allowed Claimants shall have one hundred eighty (180) days from the date an
 offer is made by the Trust to accept such offer. In the event that an Individual Claimant neither
 accepts such settlement offer within 180 days nor falls under either exception (a) or (b) of this
 Section, such Individual Claimant’s Individual Claim shall be deemed waived and ineligible for
 compensation from the Settlement Trust.

               Submission Requirements

        Any Individual Claimant who wishes to submit his/her respective Individual Claim to the
 Trust must satisfy the following applicable requirements with respect to the information and
 documentation required to prove that the Individual Claim should be processed pursuant to these
 TDP. Regardless of the type of treatment sought, every Individual Claimant seeking compensation
 from the Trust must include the following at the time of submission (the “Submission
 Requirements”):

                1)   Citizenship/Residency: Proof that the Individual Claimant (and, to any extent
                     applicable, the minor, deceased, or incapacitated individual represented by
                     such Individual Claimant) is a United States citizen, a lawful permanent
                     resident of the United States (or otherwise lawfully residing in the United
                     States), or a Canadian citizen;

                2)   Claimant Information: All claimant information required under the
                     Submission Procedures adopted by the Trust (the “Claimant Information”),
                     including the Individual Claimant’s Identifying Information;

                3)   Proof of Claim: A properly completed Form 410 (the “Proof of Claim”),
                     which shall include complete information for where notices to the creditor
                     should be sent, and where payments to the creditor should be sent (including
                     if such payments should be sent directly to counsel for the claimant). If there
                     is any conflict between the Proof of Claim and the Claim Submission Form
                     the Proof of Claim shall control;

                4)   Claim Submission Form: A properly completed Claim Submission Form (the
                     template for which shall be attached to the Submission Procedures adopted
                     by the Trust);

                5)   Retention Agreement: To the extent the Individual Claimant is represented by
                     counsel, a copy of the related retention agreement;

                6)   Talc Use Evidence: A sworn affidavit or other testimony establishing the
                     Individual Claimant’s use, and extent of use, of any and all talc and talc-



 - 22 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 28 of 57



                      containing products (including both J&J Talc Products and Non-J&J Talc
                      Products);

                 7)   Lack of Asbestos Exposure: In the case of a Mesothelioma Claim a sworn
                      affidavit asserting the Mesothelioma Claimant (i) has not alleged any prior
                      asbestos exposure unrelated to use of talc-based products as the basis of a
                      mesothelioma claim he/she has previously asserted against a separate asbestos
                      trust or asbestos tort defendant and (ii) does not, and will not in the future,
                      allege any prior asbestos exposure unrelated to use of talc-based products that
                      may form the basis of a mesothelioma claim he/she may assert against a
                      separate asbestos trust or asbestos tort defendant; and

                 8)   Medical Evidence: Medical records that the Individual Claimant reasonably
                      believes is sufficient to (i) satisfy the applicable Qualification Criteria or
                      Accelerated Claim Criteria pursuant to these TDP, and (ii) provide the Claims
                      Administrator with all information necessary to accurately determine the
                      appropriate Scheduled Value and Allowed Claim Amount.

         While the precise extent of medical records required by the above Submission
 Requirements may vary from claim to claim, as well as generally, depending on the particular
 types of Individual Claims involved, diseases alleged, and other factors relevant to the valuation
 of Individual Claims pursuant to these TDP, in general, production of all pathology reports and
 contemporaneous treatment records, along with records sufficient to establish an Individual
 Claimant’s relevant medical history, would be satisfactory for any Individual Claimant regardless
 of the type of Individual Claim asserted or Evaluation Track elected.

         Notwithstanding the foregoing, in the event that the Medical Evidence submitted is deemed
 insufficient by the Claims Administrator to establish an Individual Claimant’s relevant medical
 history, the Individual Claimant may submit an affidavit from his/her counsel attesting, under the
 pains and penalties of perjury, to the fact that all available relevant documentation has been
 submitted, which affidavit must show proof of the Individual Claimant’s MyChart or similar
 patient portal. The Claims Administrator shall have the sole discretion to determine whether such
 affidavit is sufficient to resolve the deficiency as to the Medical Evidence submitted. However,
 Medical Evidence that does not include either a pathology report related to the Individual
 Claimant’s alleged disease or, for Ovarian Cancer Claims only, the Individual Claimant’s treating
 physician’s detailed report as to the Individual Claimant’s pathologic diagnosis shall not be
 deemed satisfactory evidence to establish a Qualifying Claim. Individual Claimants who are
 unable to satisfy these requirements may, however, still be eligible to proceed under the
 Accelerated Evaluation Process.

       Individual Claims that are substantially complete at the time of submission shall be deemed
 Submitted Claims and be subjected to the Preliminary Evaluation Process set forth below.

                Disallowed Claims

        In the event that an Individual Claimant submits materials that are insufficient (as
 determined by the Claims Administrator) to satisfy the Submission Requirements, the Trustees

 - 23 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                Document    Page 29 of 57



 shall provide notice of each deficiency to such Individual Claimant and automatically defer the
 related Submitted Claim for sixty (60) days, to ensure the Individual Claimant a fair opportunity
 to cure any such deficiencies. If the Individual Claimant fails to either timely supplement his/her
 Submitted Claim with materials sufficient to resolve any deficiencies identified, or timely respond
 to the deficiency notice requesting further relief, upon expiration of such sixty (60)-day period, the
 Submitted Claim at issue shall become a Disallowed Claim and the Trustees shall send a
 Disallowed Claim Notice to the relevant Individual Claimant.

        If the Submitted Claim becomes a Disallowed Claim, the Trustees will not conduct a
 Preliminary Evaluation of such Submitted Claim as described below in Section 4.4.2. Individual
 Claimants shall have the ability to seek reconsideration of the Trustees’ determination set forth in
 the Disallowed Claim Notice as described in Article 6 herein.

 4.4      Claim Evaluation Procedures

         To determine whether each Individual Claim submitted to the Trust is either (i) legally
 valid and therefore should be processed pursuant to these TDP, or (ii) legally invalid and therefore
 should be a Disallowed Claim, the Claims Administrator, in conjunction with the Claims
 Processor, shall act according to the following uniform procedures and guidelines to thoroughly
 and individually evaluate all related Claim Submissions.

                FIFO Processing

         Individual Claims shall be processed based on their place or places in the applicable FIFO
 Processing Queues based upon the election of an Evaluation Track. The Trust shall take all
 reasonable steps to resolve Individual Claims as efficiently and expeditiously as possible at each
 stage of claims processing, including with respect to any Reconsideration Requests and/or pursuant
 to the ADR Procedures, which steps may include, in the Trust’s sole discretion, conducting
 settlement discussions with representatives with respect to more than one Individual Claim at a
 time, provided that the relevant Individual Claimants’ respective positions in the applicable FIFO
 Processing Queues are maintained, and each Individual Claim is individually evaluated pursuant
 to the valuation factors set forth in Article 7.

                Preliminary Evaluation of Claim Submissions

        Within sixty (60) days of each Individual Claim being deemed a Submitted Claim, the
 Claims Administrator shall conduct a Preliminary Evaluation of the related Claim Submission to
 determine whether:

                a)      the Submitted Claim was timely submitted to the Trust pursuant to Section
                        4.2;

                b)      the Submitted Claim has not previously been submitted to the Trust
                        pursuant to these TDP or otherwise (except for Individual Claims that were
                        submitted and later formally withdrawn pursuant to Section 4.3.2);

                c)      the Submitted Claim had not previously been resolved through litigation
                        and/or settlement involving a Protected Party, other than Individual Claims

 - 24 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 30 of 57



                        that have previously been resolved in any manner described in Section
                        4.1.2(A); and

                d)      the Individual Claimant’s Proof of Claim and Claim Submission are
                        substantially and substantively completed and signed under penalty of
                        perjury.

         Submitted Claims that satisfy the Preliminary Evaluation Criteria, which are set forth
 above, shall be deemed Confirmed Claims and thereafter routed to either the Standard
 Qualification Evaluation Process or the Accelerated Evaluation Process, as elected by the
 Individual Claimant in his/her Claim Submission. A Submitted Claim that fails to satisfy one or
 more of the Preliminary Evaluation Criteria shall become a Disallowed Claim and the Trustees
 shall provide a Disallowed Claim Notice to the relevant Individual Claimant.

         In the event that a Submitted Claim becomes a Disallowed Claim because it was previously
 submitted to the Trust with different independent counsel, the Trust shall provide notice to the
 related Individual Claimant regarding the duplicative submission and such Individual Claimant
 shall have thirty (30) days to submit to the Trust a certification signed by himself/herself, and all
 independent counsel who purported to represent the Individual Claimant for one of his/her Claim
 Submissions confirming which counsel shall be representing the Individual Claimant with respect
 to the original Submitted Claim and withdrawing any later Submitted Claim. If the Individual
 Claimant satisfies this option, he/she may retain his/her place in the FIFO Processing Queue and
 the Individual Claim may proceed through the evaluation processes set forth in these TDP. Failure
 to submit such certification shall result in (i) the original Submitted Claim being indefinitely
 deferred pending clarification from the Individual Claimant and his/her counsel as to who
 represents the Individual Claimant and (ii) any later Submitted Claim being deemed withdrawn.

                General Principles for Evaluation of Confirmed Claims

        For each Confirmed Claim, the Claims Administrator shall, in conjunction with the Claims
 Processor, individually evaluate the related Claim Submission pursuant to the Individual
 Claimant’s selected Evaluation Track to determine whether the Individual Claim should be an
 Allowed Claim. Regardless of the Evaluation Track selected, this process shall involve (i) a
 thorough review and consideration of all the submitted Claim Materials, (ii) a full evaluation and
 determination as to the credibility of such evidence, and (iii) determination as to whether such
 evidence satisfies the substantive criteria for the applicable Evaluation Track.

         If the Claims Administrator verifies that a Confirmed Claim (i) satisfies the applicable
 substantive criteria as set forth in this Section and (ii) the related Claim Materials are not deceptive
 or fraudulent, then the Confirmed Claim shall be deemed an Allowed Claim. If, on the other hand,
 the Claims Administrator verifies that (i) the relevant Claim Materials are not deceptive or
 fraudulent, but (ii) the Confirmed Claim does not satisfy the applicable substantive criteria, then
 the Claims Administrator has the discretion to either (a) make the Confirmed Claim a Disallowed
 Claim, in which case the Trustees shall provide a Disallowed Claim Notice to the relevant
 Individual Claimant, or (b) request, in writing, that supplemental evidence sufficient to resolve the
 deficiency from the Individual Claimant in question be submitted within thirty (30) days of the
 Claims Administrator making such request. The deadline to provide such supplemental evidence

 - 25 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 31 of 57



 may be automatically extended for an additional thirty (30) days upon written notice by the
 Individual Claimant to the Claims Administrator. Additional extensions of time to produce
 requested supplemented evidence may be requested upon written request by the Individual
 Claimant to the Claims Administrator, who retains full discretion to either grant or deny such
 request. If such supplemental evidence is not received by the Claims Administrator prior to the
 expiration of the thirty (30)-day period (as extended, if applicable), the Confirmed Claim will
 become a Disallowed Claim and the Trustees shall provide a Disallowed Claim Notice to the
 relevant Individual Claimant.

         In the event, however, that the Claims Administrator determines that any portion of the
 Claim Materials are deceptive or include fraudulent information (each, a “Fraudulent Claim
 Submission”), then such Individual Claim shall become a Disallowed Claim, and the Trustees
 shall provide a Disallowed Claim Notice to the relevant Individual Claimant (each a “Fraudulent
 Claimant”). Further, if the Trust determines that any individual attorney or firm is continually
 representing Fraudulent Claimants and submitting Fraudulent Claim Submissions to the Trust, the
 Trustees have the discretion to subject the Individual Claims of other Individual Claimants who
 share the same counsel as a prior Fraudulent Claimant (to the extent such counsel represents other
 Individual Claimants who have submitted, or in the future submit, their Individual Claims to the
 Trust) to heightened scrutiny, so long as any such other Individual Claimants are not otherwise
 prejudiced with respect to the processing of their Claim Submissions and/or the payment
 (including the timing of payment) of any Qualifying Claims.

         Claim Submissions must be signed under the pains and penalties of perjury and to the
 extent of applicable law, the submission of a Fraudulent Claim Submission may violate the
 criminal laws of the United States, including the criminal provisions applicable to Bankruptcy
 Crimes, 18 U.S.C. § 152, and may subject those responsible to criminal prosecution in any federal
 court of competent jurisdiction.

                Standard Qualification Evaluation Process

         For each Confirmed Claim electing to proceed under the Standard Qualification Evaluation
 Process, the Claims Administrator shall, in conjunction with the Claims Processor, thoroughly
 review and evaluate the related Claim Submission to determine whether either the Ovarian Cancer
 Qualification Criteria or the Mesothelioma Qualification Criteria, as applicable, are satisfied. If,
 in undertaking the Standard Qualification Evaluation Process, the Claims Administrator
 determines that a Confirmed Claim satisfies the applicable Qualification Criteria, then such claim
 shall be deemed an Allowed Claim and may proceed to the valuation processes set forth in these
 TDP. Individual Claimants who do not satisfy the applicable Qualification Criteria are non-
 qualifying claims under these TDP and shall become a Disallowed Claim, and the Trustees shall
 provide a Disallowed Claim Notice to the relevant Individual Claimants.

                A.      Ovarian Cancer Qualification Criteria

        Individual Claimants who submit to the Trust an Ovarian Cancer Claim and satisfy the
 following three (3) Ovarian Cancer Qualification Criteria shall be deemed Qualifying Ovarian
 Cancer Claimants. Ovarian Cancer Claims that fail to satisfy these criteria are non-qualifying
 claims under these TDP and shall be Disallowed Claims.

 - 26 -
Case 23-12825-MBK       Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                               Document    Page 32 of 57



                       1) Proof of Regular Perineal Use of J&J Talc Products: the Individual
                          Claimant establishes Regular Use of J&J Talc Products in her perineal
                          area after puberty, and proves as much via sworn testimony or affidavit,
                          including the alleged dates of first and last use;

                       2) Proof of Injury: the Individual Claimant was newly diagnosed with a
                          Ovarian Cancer at least ten (10) years following her first post-pubertal 2
                          perineal use of J&J Talc Products; and

                       3) Timeliness: the Individual Claim was timely filed pursuant to the
                          submission deadlines set forth in Section 4.2.

                B.     Mesothelioma Qualification Criteria

        Individual Claimants who submit to the Trust a Mesothelioma Claim and satisfy the
 following four (4) Mesothelioma Qualification Criteria shall be deemed Qualifying Mesothelioma
 Claimants. Mesothelioma Claims that fail to satisfy these criteria are non-qualifying claims under
 these TDP and shall be Disallowed Claims.

                       1) Proof of Regular Use of J&J Talc Products: the Individual Claimant
                          establishes Regular Use of J&J Talc Products on his/her own body, and
                          proves as much via sworn testimony or affidavit;

                       2) Lack of Asbestos Exposure: the Individual Claimant (i) has not alleged
                          any prior asbestos exposure unrelated to use of talc-based products as
                          the basis of a mesothelioma claim he/she has previously asserted against
                          a separate asbestos trust or asbestos tort defendant and (ii) does not, and
                          will not in the future, allege any prior asbestos exposure unrelated to use
                          of talc-based products that may form the basis of a mesothelioma claim
                          he/she may assert against a separate asbestos trust or asbestos tort
                          defendant;

                       3) Proof of Injury: the Individual Claimant was newly diagnosed with
                          Mesothelioma at least ten (10) years following his/her first use of J&J
                          Talc Products; and

                       4) Timeliness: the Individual Claim was timely filed pursuant to the
                          submission deadlines set forth in Section 4.2.

                Accelerated Evaluation Process

                A.     In General

        For each Confirmed Claim electing to proceed under the Accelerated Evaluation Process,
 the Claims Administrator shall, in conjunction with the Claims Processor and with a focus on

 2
   For purposes of evaluating claims pursuant to these TDP, an Individual Claimant shall be
 assumed to have reached puberty on her thirteenth birthday.
 - 27 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                                Document    Page 33 of 57



 efficiency, review and evaluate the related Claim Submission to determine whether the
 Accelerated Evaluation Criteria are satisfied. If in doing so the Claims Administrator determines
 that a Confirmed Claim satisfies the Accelerated Criteria, then such claim shall be deemed an
 Allowed Claim and the Settlement Trust shall promptly issue payment of the applicable Scheduled
 Value under Section 5.3.

         An Individual Claimant who initially elected on his/her Claim Submission to have his/her
 claim evaluated pursuant to the Standard Qualification Evaluation Process set forth in Section
 4.4.4 above may, at any time after the date his/her Individual Claim was submitted to the Trust,
 but before such Individual Claim becomes a Disallowed Claim or is paid, as applicable, request to
 have his/her Individual Claim evaluated under the Accelerated Evaluation Process in this Section
 4.4.5 instead.

                B.      Accelerated Claims Criteria

        Individual Claimants who submit an Other Talc Claim to the Trust or elect to have their
 Mesothelioma Claim or Ovarian Cancer Claim, as applicable, evaluated through the Accelerated
 Evaluation Process and satisfy the following four (4) Accelerated Claims Criteria shall be deemed
 Other Approved Claimants:

                        1) Proof of Regular Use of J&J Talc Products: the Individual Claimant
                           establishes Regular Use of J&J Talc Products , and proves as much via
                           sworn testimony or affidavit;

                        2) Lack of Asbestos Exposure: the Individual Claimant (i) has not alleged
                           any prior asbestos exposure unrelated to use of talc-based products as
                           the basis of a mesothelioma claim he/she has previously asserted against
                           a separate asbestos trust or asbestos tort defendant and (ii) does not, and
                           will not in the future, allege any prior asbestos exposure unrelated to use
                           of talc-based products that may form the basis of a mesothelioma claim
                           he/she may assert against a separate asbestos trust or asbestos tort
                           defendant;

                        3) Proof of Injury: the Individual Claimant was newly diagnosed with a
                           Gynecological Cancer, Ovarian Cancer, or Mesothelioma at least ten
                           years following his/her first use of J&J Talc Products; and

                        4) Timeliness: the Individual Claim was timely filed pursuant to the
                           submission deadlines set forth in Section 4.2.


                            VALUATION OF ALLOWED CLAIMS

 5.1      In General

          The Claims Administrator, in conjunction with the Claims Processor, shall identify and
 utilize the appropriate multi-stage valuation process, as described in this Article, to determine the
 Scheduled Value for every Allowed Claim under these TDP. These valuation processes are

 - 28 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 34 of 57



 intended to be a direct continuation of the resolution process for Individual Claimants, immediately
 upon determination of allowance pursuant to the Standard Qualification Evaluation Process or the
 Accelerated Evaluation Process. Promptly after determination of each Allowed Claim’s
 Scheduled Value, the Trustees shall notify the related Individual Claimant in writing of (i) the
 determination that his/her Individual Claim is an Allowed Claims (i.e., either a Qualifying Claim
 or Other Approved Claim), (ii) the Scheduled Value determined as to the same pursuant to Sections
 5.2 and 5.3 below, and (iii) the proposed Allowed Claim Amount (each a “Scheduled Value
 Notice”).

 5.2      Determination of Scheduled Values for Qualifying Claims

                Qualifying Ovarian Cancer Claims

        Upon determination that an Ovarian Cancer Claim submitted to the Trust is a Qualifying
 Claim, the Claims Administrator, in conjunction with the Claims Processor, shall undertake the
 following seven (7) stage valuation process for any such Ovarian Cancer Claim that elected
 evaluation under the Standard Qualification Evaluation Process. This process requires the Claims
 Administrator:

                1)      To identify the Initial Point Value based on the Individual Claimant’s age
                        at diagnosis and specific category of injury; then

                2)      To establish the Adjusted Point Value based on the Initial Point Value and
                        the Diagnostic Adjustment as determined by the disease subtypes; then

                3)      To further adjust that Point Value based on the length of Regular Use of
                        J&J Talc Products; then

                4)      To further adjust that Point Value based on the length of time between the
                        end of the Individual Claimant’s Regular Use and the relevant date of
                        diagnosis; then

                5)      To further adjust that Point Value based on less-than-Regular Use of J&J
                        Talc Products, if applicable; then

                6)      To further adjust that Point Value by a certain percentage discount based on
                        the existence of certain risk factors, if applicable; and finally

                7)      To further adjust the resulting Point Value based on the extent of the
                        Individual Claimant’s use of non-J&J Talc Products, if applicable.

       Gynecologic Claims other than Ovarian Cancer claims shall only be eligible to receive
 amounts based on the Accelerated Evaluation Process below in Section 5.3.3.

                A.      Initial Point Values

        The Initial Point Values for Qualifying Ovarian Cancer Claims, prior to the application of
 any of the listed adjustments and/or reductions will be determined based on the Individual

 - 29 -
Case 23-12825-MBK       Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                               Document    Page 35 of 57



 Claimant’s age and stage of cancer as detailed in the chart below. The relevant age shall be
 determined based on an Individual Claimant’s age on her Date of Diagnosis. The relevant stage
 of cancer shall be determined by the most advanced stage of Ovarian Cancer the Individual
 Claimant received a diagnosis for, as established by the medical evidence submitted with the Claim
 Materials.

      Age at     Stage IV OR    Stage III (with Stage I-II (with      Stage II         Stage I
   Diagnosis       Related        or without      recurrence)         (without        (without
    (in years)      Death        recurrence)                        recurrence)     recurrence)
   Under 45         1,200            840              420               240             120
   45-49            1,020            715              355               205             100
   50-54             780             545              275               155              80
   55-59             660             460              230               130              65
   60-64             480             335              170                95              50
   65-69             360             250              125                70              35
   70+               300             210              105                60              30

                 B.    Point Value Adjustment Factors

         Each Individual Claimant’s Initial Point Value will then be adjusted by multiplying such
 Initial Point Value by the applicable Diagnostic Adjustment set forth in the chart below. The
 resulting claim-specific point value shall be referred to as the “Adjusted Point Value.”


                                                                   Diagnostic Adjustment
             Ovarian Cancer Diagnostic Subtypes

    Serous Carcinoma                                                        100%
    Endometrioid Carcinoma                                                   90%
    Clear Cell Carcinoma                                                     75%
    Mixed Epithelial Carcinoma                                            See below
        − Each subtype identified is a qualifying subtype                   100%
             (e.g., serous with clear cell)
        − Primary subtype is a qualifying subtype (i.e.,
             serous, endometrioid, clear cell) but other                     65%
             subtypes are non-qualifying
             (e.g., serous with mucinous)
    Undifferentiated Epithelial Carcinoma                                    100%
    Ovarian Carcinoma with Epithelial Component of
    Unknown or Unidentified Subtype                                          50%
    (e.g., “ovarian adenocarcinoma”)
    Borderline Ovarian Tumors with Serous, Endometrioid,                     30%
    or Clear Cell Subtypes




 - 30 -
Case 23-12825-MBK                      Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                        Desc Main
                                              Document    Page 36 of 57



                         C.          Talc Use and Risk Factor Reductions

         Each Individual Claimant’s Adjusted Point Value will then be further adjusted based on a
 series of multiplicative talc usage and medical risk factors to determine the Scheduled Value for
 the Individual Claim, as set forth in this Section.

                                     (i)         Step I Adjustment: Length of Perineal Use

         Each Individual Claimant’s Adjusted Point Value shall be adjusted based on the total length
 of the Individual Claimant’s Regular Perineal Use (i.e., the number of years of Regular Use of J&J
 Talc Products in her perineal area). Specifically, the Adjusted Point Value shall be reduced
 proportional to the Years of Regular Perineal Use relative to the Maximum Years of Regular
 Perineal Use where “Years of Regular Perineal Use” shall mean the lesser of (i) the number of
 full years of Regular Perineal Use after the Individual Claimant reached puberty and the Individual
 Claimant’s Date of Diagnosis 3 or (ii) 40 years, and “Maximum Years of Regular Perineal Use”
 shall mean the lesser of (i) the number of years elapsed between puberty and the Individual
 Claimant’s Date of Diagnosis or (ii) 40 years. 4

                                                                                              (𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌 𝑜𝑜𝑜𝑜 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅 𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑃𝑎𝑎𝑙𝑙 𝑈𝑈𝑈𝑈𝑈𝑈 )
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 This reduction factor shall be referred to as the “Length of Perineal Use Factor” and expressed
 as a percentage, and shall not be less than 0% or exceed 100%.

                                     (ii)        Step II Adjustment: Time Since Last Perineal Use

         Next, the Adjusted Point Value shall be further adjusted based on the length of time
 between the Individual Claimant’s last Regular Perineal Use and her Date of Diagnosis, as set
 forth in the following table:

         Time Since Last Regular Use                                                                  Reduction of Point Value
         0 to <6 years since last Regular Perineal Use                                                          0%
         6 to <30 years since last Regular Perineal Use                                                    2% per year 5
         30+ years since last Regular Perineal Use                                                             55%

 This reduction factor shall be referred to as the “Time Since Last Use Factor” and expressed as
 a percentage, and shall not be less than 0% or exceed 55%.

 3
   For purposes of evaluating claims pursuant to these TDP, an Individual Claimant shall be
 assumed to have reached puberty on her thirteenth birthday.
 4
   By way of example, if an Individual Claimant was 43 years old on her Date of Diagnosis, the
 Maximum Years of Regular Perineal Use is 30 years. If she regularly used J&J Talc Products in
 her perineal area for 20 years, then the Adjusted Point Value would be subject to a Length of
 Perineal Use Factor adjustment of 1 – (20 years /30 years) = 33.33%.
 5
   For avoidance of doubt, an Individual Claimant who was diagnosed with a qualifying disease 10
 years after her last Regular Perineal Use would be subject to a Time Since Last Use Factor discount
 of (10 – 5) x 2% = 10%.
 - 31 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                                Document    Page 37 of 57



                        (iii)   Step III Adjustment: Non-Regular Perineal Use

         Next, if the Claims Administrator and/or Claims Processor determines that an Individual
 Claimant’s perineal use of J&J Talc Products varies substantially from the use pattern of the typical
 qualifying claim, the Trustees may, at their sole discretion, conduct an individual review of the
 Claim Submission and reasonably reduce the Adjusted Point Value based on the frequency the
 Individual Claimant’s perineal of talc use, as compared to what would constitute normal use based
 on other submissions. This discretionary reduction factor shall be referred to as the “Non-Regular
 Perineal Use Factor” and expressed as a percentage, and, if applicable, shall not be less than 0%
 or exceed 100%.

                        (iv)    Step IV Adjustment: Medical Risk Factors

         Next, the Adjusted Point Value shall be further reduced based on the Individual Claimant’s
 family history and genetic predisposition to ovarian cancer, based on the table below. Only the
 greatest of the reductions for applicable medical risk factors shall apply. For avoidance of doubt,
 discounts applicable pursuant to this Section 5.2.1(C)(iv) are not applied cumulatively (i.e., if an
 Individual Claimant has BRCA 1 as well as a family history of ovarian cancer, the total reduction
 is 45%, not 80%).

              Risk Factor                                  Reduction of Point Value
              BRCA 1 or BRCA 2                                      45%
              Family history of ovarian cancer                      35%
              (in 1st degree relative)
              Personal or family history (in 1st degree                20%
              relative) of colon or breast cancer

 This reduction factor shall be referred to as the “Medical Risk Factor” and expressed as a
 percentage, and, if applicable, shall not be less than 20% or exceed 45%.

                        (v)     Step V Reductions: Non-J&J Talc Perineal Use

        Next, the Adjusted Point Value shall be further adjusted based on an Individual Claimant’s
 Regular Non-J&J Talc Perineal Use (if applicable and established by affidavit or legal pleadings).

      Discounts                                                  Reduction of Point Value
      Other Talc Use                                                        25%
      (applies only if Individual Claimant has               (increasing to the total percentage
      established Regular Non-J&J Talc Perineal Use            of other Regular Non-J&J Talc
      for a period of greater than 4 years)                             Perineal Use)




 - 32 -
Case 23-12825-MBK             Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                   Desc Main
                                     Document    Page 38 of 57



 This reduction factor shall be referred to as the “Non-J&J Talc Perineal Use Factor” and
 expressed as a percentage, and, if applicable, shall not be less than 25% or exceed 100%. 6

                D.           Scheduled Value

        Each Qualifying Claimant’s Scheduled Value shall be determined based on her Initial Point
 Value multiplied by the relevant Diagnostic Adjustment and any applicable reduction factors
 outlined in Steps I–V (rounded to the nearest whole number), as follows:
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         By way of example, if the Individual Claimant for an Ovarian Cancer Claim is a woman
 who was diagnosed with Stage IV clear cell carcinoma at age 53, had 30 years of Regular Perineal
 Use, stopped using J&J Talc Products in her perineal area 10 years before her Date of Diagnosis,
 has a family history of colon cancer in her mother, and never used Non-J&J Talc Products in her
 perineal area, then her Scheduled Value would be 316 points.




 6
   By way of example, if an Individual Claimant used J&J Talc Products every morning in her
 perineal area and used Non-J&J Talc Products every evening for thirty years (i.e., half of her
 perineal area applications were J&J Talc Products and half were Non-J&J Talc Products), then the
 Adjusted Point Value of her claim will be reduced by 50% = 30 years of Non-J&J Talc Perineal
 Use / (30 years of Regular Perineal Use + 30 years of Non-J&J Talc Perineal Use). If, instead, she
 had used Non-J&J Talc Products in her perineal area once a week for a 5 years and used J&J Talc
 Products in her perineal area every day for 20 years (i.e., one-fifth of the total years she regularly
 used talc-based products in her perineal area was use of Non-J&J Talc Products), then the Adjusted
 Point Value of her claim will be reduced by the minimum 25%.
 - 33 -
Case 23-12825-MBK       Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                               Document    Page 39 of 57



  Initial Point Value                                                           780
  Diagnostic Adjustment                      Clear cell ovarian             ×   75%
                                             carcinoma = 75%
  Adjusted Point Value                                                          585
  Adjustment for Length of Regular           1–(30÷40) = 25%                ×   75% = 1 – 25%
  Perineal Use Factor                                                           438.79
  Adjustment for Time Since Last Regular     (10–5)×2% = 10%                ×   90% = 1 – 10%
  Perineal Use Factor                                                           394.879
  Adjustment for Non-Regular Use       Discretionary (not applied)          ×   n/a
  Adjustment for Medical Risk Factor   Colon cancer in family               ×   80% = 1 – 20%
                                       history = 20%                            315.9
  Adjustment for Non-J&J Talc Perineal 0 years of total use = 0%            ×   100% = 1 – 0%
  Use Factor                                                                    315.9
  Scheduled Value                                                           =   315.9
                                                                                (rounded to 316)

                Qualifying Mesothelioma Claims

         Upon determination that an Individual Claim submitted to the Trust is a Qualifying
 Mesothelioma Claim, the Claims Administrator, in conjunction with the Claims Processor, shall
 undertake the following five (5) stage valuation process for any such Mesothelioma Claim that
 elected evaluation under the Standard Qualification Evaluation Process. This process requires the
 Claims Administrator:

                       1) To identify the Initial Point Value based on the Individual Claimant’s
                          age at diagnosis; then

                       2) To establish the Adjusted Point Value based on the Initial Point Value
                          and the Diagnostic Adjustment as determined by the disease subtypes;
                          then

                       3) To further adjust that Point Value based on length of use of J&J Talc
                          Products; then

                       4) To further adjust that Point Value based on the non-regular use of J&J
                          Talc Products, if applicable; and finally

                       5) To further adjust that Point Value based on the extent of the Individual
                          Claimant’s use of non-J&J Talc Products, if applicable.

                A.     Initial Point Value

         The Initial Point Value for Qualifying Mesothelioma Claims, prior to the application of
 any of the listed adjustments will be determined based on the Individual Claimant’s age on his/her
 first Date of Diagnosis, as detailed below:




 - 34 -
Case 23-12825-MBK                Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                               Desc Main
                                        Document    Page 40 of 57



                                            Age on Date of                Mesothelioma
                                              Diagnosis
                                           Under 45                                 2,400
                                           45-49                                    2,040
                                           50-54                                    1,560
                                           55-59                                    1,320
                                           60-64                                     960
                                           65-69                                     720
                                           70+                                       600

                    B.         Point Value Adjustment Factors

         Each Qualifying Claimant’s Initial Point Value will then be adjusted by multiplying such
 Initial Point Value by the applicable Diagnostic Adjustment set forth in the chart below. The
 resulting claim-specific point value shall be referred to as the “Adjusted Point Value.”
                                                                                    Diagnostic Adjustment
                               Diagnostic Subtypes

                   Pleural Mesothelioma                                                          100%
                   Peritoneal Mesothelioma                                                        75%
                   Pericardial Mesothelioma                                                       10%
                   Testicular Mesothelioma                                                        10%

                    C.         Talc Use & Risk Factor Reductions

         Each Individual Claimant’s Adjusted Point Value will then be reduced based on a series of
 multiplicative talc usage factors to determine the Scheduled Value for the Individual Claim, as set
 forth in this Section.

                               (i)         Step I Adjustment: Length of Regular Use

         Each Individual Claimant’s Adjusted Point Value shall be reduced based on the length of
 time the Individual Claimant regularly used J&J Talc Products on his/her Date of Diagnosis.
 Specifically, the Adjusted Point Value shall be reduced proportional to the Years of Regular Use
 relative to the Maximum Years of Regular Use, where “Years of Regular Use” shall mean the
 lesser of (i) the number of full years of Regular Use on the Date of Diagnosis or (ii) 40 years, and
 “Maximum Years of Regular Use” shall mean the lesser of (i) the Individual Claimant’s age on
 his/her Date of Diagnosis or (ii) 40 years.

                                                                                      (𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌 𝑜𝑜𝑜𝑜 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅 𝑈𝑈𝑈𝑈𝑈𝑈)
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                                                                              (𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀𝑀 𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌𝑌 𝑜𝑜𝑜𝑜 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅 𝑈𝑈𝑈𝑈𝑈𝑈)

 This reduction factor shall be referred to as the “Length of Use Factor” and expressed as a
 percentage, and shall not be less than 0% or exceed 100%.



 - 35 -
Case 23-12825-MBK             Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                                                  Desc Main
                                     Document    Page 41 of 57



                            (ii)        Step II Adjustment: Non-Regular Use

         Next, if the Claims Administrator and/or Claims Processor determines that an Individual
 Claimant’s use of J&J Talc Products is insufficient to establish Regular Use, the Trustees may, at
 their sole discretion, conduct an individual review of the Claim Submission and reasonably reduce
 the Adjusted Point Value based on the frequency the Individual Claimant’s use of J&J Talc
 Products, as compared to what would constitute normal use based on other submissions.

        This discretionary reduction factor shall be referred to as the “Non-Regular Use Factor”
 and expressed as a percentage, and, if applicable, shall not be less than 0% or exceed 100%.

                            (iii)       Step III Adjustment: Non-J&J Talc Use

        Next, the Adjusted Point Value shall be further reduced based on an Individual Claimant’s
 Regular Non-J&J Talc Use (if applicable and established by affidavit or legal pleadings).

     Discounts                                                  Reduction of Point Value
                                                                            25%
     Other Talc Use                             (increasing to the total percentage of other talcum powder
                                                               use in pleadings or affidavit)

 This reduction factor shall be referred to as the “Non-J&J Talc Use Factor” and expressed as a
 percentage, and, if applicable, shall not be less than 25% or exceed 100%. 7

                 D.         Scheduled Value

        Each Qualifying Claimant’s Scheduled Value shall be determined based on his/her Initial
 Point Value multiplied by the relevant Diagnostic Adjustment and any applicable reduction factors
 outlined in Steps I–III, as follows:
               𝑆𝑆𝑆𝑆ℎ𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒 𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉𝑉
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                                        × (1 − 𝑁𝑁𝑁𝑁𝑁𝑁 𝐽𝐽&𝐽𝐽 𝑇𝑇𝑇𝑇𝑇𝑇𝑇𝑇 𝑈𝑈𝑈𝑈𝑈𝑈 𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹𝐹 𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅𝑅)
         By way of example, if a Qualifying Claimant was diagnosed with pleural mesothelioma at
 age 60, used J&J Talc Products every morning for 30 years, and used Non-J&J Talc Products every
 evening for 30 years (i.e., half his applications were J&J Talc Products and half were non-J&J Talc
 Products), his Scheduled Value would be 360 points.


 7
  By way of example, if an Individual Claimant used J&J Talc Products twice a day and used Non-
 J&J Talc Products once a day for thirty years (i.e., two-thirds of his applications were J&J Talc
 Products and one-third were non-J&J Talc Products), then the Adjusted Point Value of his claim
 will be reduced by 33.33%. If, instead, he used Non-J&J Talc Products twice a week for a period
 of greater than 4 years and used J&J Talc Products every day (i.e., regularly used Non-J&J Talc
 Products two-sevenths of the time he used J&J Talc Products), then the Adjusted Point Value of
 his claim will be reduced by 25%.
 - 36 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 42 of 57




  Initial Point Value                                                      960
  Diagnostic Adjustment                        Pleural = 100%            × 100%
  Adjusted Point Value                                                     960
  Reduction for Length of Use Factor                                       75% = (1 − 25%)
                                               1 − (30 ÷ 40) = 25%       ×
  (30 years)                                                               720
  Adjustment for Non-Regular Use Factor        Discretionary (not
                                                                         × n/a
                                               applied)
  Adjustment for Non J&J Talc Use                                          50% = (1 − 50%)
                                  50%                                    ×
  Factor(half of applications)                                             360
  Scheduled Value                                                        = 360

 5.3      Allowed Claim Amounts for Approved Accelerated Claims

        Upon determination that an Individual Claim submitted to the Trust is an Other Approved
 Claim, the Claims Administrator, in conjunction with the Claims Processor, shall determine the
 Allowed Claim Amount for any such Other Approved Claim, as follows:

                Individual Claims Which Could Have Appropriately Elected to Proceed
                Under the Standard Qualification Evaluation Process

        If an Individual Claimant could have appropriately elected to submit his/her Individual
 Claim to the Trust pursuant to the Standard Qualification Evaluation Process, but for whatever
 reason chose instead to elect the Accelerated Evaluation Process, the resulting Other Approved
 Claim shall have an Allowed Claim Amount of one thousand dollars and zero cents ($1,000.00).

                Canadian Claims

         Other Approved Claims that involve an Individual Claimant who is not a citizen or legal
 permanent resident of the United States, but who is a citizen or legal permanent resident of Canada,
 shall have an Allowed Claim Amount of five hundred dollars and zero cents ($500.00).

                Other Allegedly Talc-Related Diseases

      Other Individual Claims that become Other Approved Claims shall have an Allowed Claim
 Amount of one thousand dollars and zero cents ($1,000.00).


                 RECONSIDERATION REQUESTS & ADR PROCEDURES

 6.1      Reconsideration of Determination

                Requirements for Reconsideration Requests

          An Individual Claimant may submit a request to the Trust that the Trustees reconsider any
 initial determination (a “Reconsideration Request”), as indicated by the Disallowed Claim Notice
 or Scheduled Value Notice, as applicable, (i) that the Individual Claimant’s Submitted Claim is a
 Disallowed Claim (regardless of the stage of the resolution process pursuant to these TDP that this

 - 37 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                Document    Page 43 of 57



 determination occurred), or (ii) of the applicable Scheduled Value for the relevant Allowed Claim.
 For a Reconsideration Request to be considered, it must be made pursuant to process described in
 the Submission Procedures adopted and published by the Trust. Each properly submitted
 Reconsideration Request must include:

                a)      A completed Reconsideration Request form, the template for which shall be
                        designed and adopted by the Trustees and included as an Exhibit to the
                        Submission Procedures;

                b)      Payment of five hundred dollars ($500) as an administrative reconsideration
                        fee, in the form of either check, money order, or via any electronic payment
                        process deemed acceptable by the Trustees; and

                c)      At the requesting Individual Claimant’s discretion, further evidence in
                        support of the relevant Submitted Claim.

                Forfeiture of Right to Request Reconsideration

        Individual Claimants found to have submitted deceptive or fraudulent information or
 documents to the Trust shall be deemed to have forfeited their right to request reconsideration
 pursuant to these TDP.

                Failure to Request Reconsideration Deemed Acceptance

        The deadline to submit a Reconsideration Request shall be thirty (30) days after receiving
 a Disallowed Claim Notice or Scheduled Value Notice. Any Individual Claimant who fails to
 properly submit a Reconsideration Request to the Trust prior to the expiration of such thirty (30)-
 day period shall be deemed to accept the original determination of the Claims Administrator, which
 determination shall become final and non-appealable.

                Reconsideration Request Procedures

        Upon receipt of a properly submitted Reconsideration Request, the Trustees shall proceed
 with an independent evaluation of the Individual Claim and specific determination in question.
 The Trustees will have the sole discretion whether to grant the Reconsideration Request.

         If the Reconsideration Request is denied, the administrative fee will not be returned, and
 the Trustees will provide written notice within thirty (30) days of receiving the Reconsideration
 Request that it will not reconsider the specific determination in question. The Individual Claimant
 shall retain the ability to pursue his/her Individual Claim in mediation or litigation pursuant to the
 ADR Procedures and Litigation procedures set forth below in Sections 6.2 and 6.3, respectively.

         If the Reconsideration Request is granted, the Trustees will provide written notice to the
 Individual Claimant within thirty (30) days of receiving the Reconsideration Request that they are
 reconsidering his/her Individual Claim. The Trustees will then reconsider the Individual Claim—
 including all new information provided by the Individual Claimant in the Reconsideration
 Request—and will have the discretion to maintain or revise the original determination or,
 alternatively to request supplemental information and/or materials necessary to reach a final

 - 38 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 44 of 57



 conclusion. The Trustees will use their best efforts to notify the Individual Claimant of their
 decision to affirm or revise the original determination within sixty (60) days of having sent notice
 that they were reconsidering the Individual Claim.

        To the extent that the Trustees determine that a Submitted Claim is, upon reconsideration,
 an Allowed Claim or should receive a higher proposed Scheduled Value, the Trustees shall provide
 a Scheduled Value Notice and return the administrative fee to the Individual Claimant. If,
 however, the Trustees decide that no change to the original determination is warranted, that the
 Allowed Claim should receive a lower proposed Scheduled Value, or that insufficient information
 was provided by the Individual Claimant to reach a different conclusion at the time, then the
 administrative fee shall not be returned and the earlier allowance determination and/or Scheduled
 Value shall stand and the Trustees will provide written notice thereof within sixty (60) days of the
 Trust having sent notice that it is reconsidering the Individual Claim.

 6.2      ADR Procedures

         If (i) a Reconsideration Request is denied or (ii) the Individual Claimant remains
 unsatisfied with the Trustees’ determination upon reconsideration, then the Individual Claimant
 may elect to proceed to mediation by providing written notice to the Claims Administrator within
 thirty (30) days of completion of the procedures set forth in Section 6.1.4. If the Individual
 Claimant does not provide such written notice requesting mediation, then the Disallowed Claim
 Notice or Scheduled Value Notice shall stand.

          The Trustees shall maintain a list of approved mediators, which shall be made available to
 all Individual Claimants who submit their Individual Claims to the Trust. The Claims
 Administrator and the Individual Claimant shall jointly choose a mediator (the “Mediator”) from
 the list maintained by the Trustees. If the Claims Administrator and the Individual Claimant are
 unable to reach agreement regarding the Mediator, the TAC shall select one from the list
 maintained by the Trustees.

         The Mediator will work with the Claims Administrator and the Individual Claimant to
 reach a settlement of the Individual Claim that is mutually acceptable to both parties; provided,
 however, that the settlement amount may not exceed the Maximum Value of the Individual Claim.
 The Mediator shall not have the authority to unilaterally impose a settlement upon the parties. The
 Individual Claimant and Claims Administrator shall split the fees and expenses incurred by the
 Mediator equally; provided, that the Individual Claimant’s share of the Mediator’s fees and
 expenses shall be capped at $2,500. The parties shall otherwise bear their own costs, including
 legal fees.

         If the mediation results in a settlement agreement, the agreed upon amount shall constitute
 the Individual Claimant’s Allowed Claim and payment of such Allowed Claim shall be processed
 in the same manner as payments made to Individual Claimants who accept the Claims
 Administrator’s original Scheduled Value determined and proposed for their Allowed Claims,
 pursuant to Article 5. If the mediation concludes with no settlement, the Mediator will formally
 conclude mediated discussions and the Individual Claimant may proceed to litigation pursuant to
 Section 6.3 below.


 - 39 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 45 of 57



 6.3      Litigation

         An Individual Claimant who has exhausted his or her rights pursuant to Sections 6.1 and
 6.2 shall retain the right to institute a lawsuit in the tort system against the Trust in the Claimant’s
 Jurisdiction. Such lawsuit may not name the Debtor, any LTL Corporate Party, or any other
 Protected Party and must only be filed against the Trust as defendant. Any such lawsuit must be
 filed by the Individual Claimant in his/her own right and name and not as a member or
 representative of a class, and no such lawsuit may be consolidated with any other lawsuit.

         An Individual Claimant seeking to commence litigation pursuant to this Section must
 notify the Trust of his/her intention to seek judicial review within thirty (30) days of receiving
 notice of the Trust’s determination following the conclusion of ADR Procedures pursuant to
 Section 6.3. Individual Claimants (i) who seek judicial review of the Trust’s determination of the
 Scheduled Value must pay a fee of $2,500 to the Trust, and (ii) who seek judicial review of the
 Trust’s determination of the Individual Claim is a Disallowed Claim must pay a fee of $10,000 to
 the Trust.

         Both the Individual Claimant and the Trust shall have all appropriate defenses available to
 them (including, with respect to the Trust, all defenses which could have been asserted by any
 Protected Party). Further, the Trust may use any and all information and/or materials submitted to
 the Trust by the Individual Claimant in its defense of any lawsuit in the tort system, including
 evidence of deceptive or fraudulent behavior. In the event that the Individual Claimant does not
 prevail at trial or prevails but is awarded a judgment less than the Allowed Claim Amount offered
 by the Trust, the final Allowed Claim Amount shall be reduced on a dollar-for-dollar basis by all
 costs the Trust incurred in defending against the Individual Claimant’s lawsuit, including costs
 associated with retention of experts, if any; provided that such dollar-for-dollar reduction shall not
 exceed the Allowed Claim Amount, if applicable.

         At any time during the course of a lawsuit pursued under this Section the Individual
 Claimant and Trustees and/or Claims Administrator may agree to engage in settlement discussions
 or any mutually agreeable alternative dispute resolution procedure, including mediation or
 arbitration. The Trustees shall have authority to settle such lawsuits in the exercise of their
 business judgement and such settlements may include, among other things, the waiver of attorney
 fees that may otherwise be due pursuant to the preceding paragraph. However, the settlement
 amount of such settlement agreement may not exceed the Maximum Value of the Individual Claim.

         In the event an Individual Claimant elects to pursue a lawsuit pursuant to this Section which
 results, after waiver and/or exhaustion of any party’s rights of appeal, in a final judgment for
 monetary damages, then such Individual Claimant shall be eligible to receive payment of the
 portion of such judgment that constitutes compensatory damages (the “Judgment Amount”)
 through the Trust, up to the Maximum Judgment Amount (the “Allowed Judgment Amount”).
 Payment of the Allowed Judgment Amount shall be processed in the same manner as payments
 made to Individual Claimants who accepted the Claims Administrator’s original Scheduled Value
 determined and proposed for their Allowed Claims, pursuant to Article 5, except that upon
 reaching the front of the FIFO Processing Queue, the Settlement Trust shall distribute to the
 Individual Claimant only an initial payment equal to Trust’s last offer, if any, to the Individual
 Claimant (provided, however, that in no event shall such payment amount exceed the amount of

 - 40 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 46 of 57



 the judgment obtained in the tort system). The balance of the judgment, up to the Allowed
 Judgment Amount for the Individual Claim, if any, shall be paid to the Individual Claimant in five
 (5) equal installments in years six (6) through ten (10) following the year of the initial payment.
 Under no circumstances shall any non-compensatory monetary damages or any interest be paid
 under any statute on any judgments obtained in the tort system.


                         INDIVIDUAL CLAIMS PAYMENT PROCESS

 7.1      Points-Based Monetary Values

                 Uncertainty of Debtor’s Talc Liabilities

          Litigation arising from the use of talc or talc-containing products is a relatively new mass
 tort and there is inherent uncertainty regarding the aggregate value of the Debtor’s total talc-related
 liabilities. As a result of this uncertainty, in undertaking to ensure substantially equitable treatment
 of all similar Existing Claims and Future Claims, the Trustees must from time to time determine
 the per-point dollar value of the points used to value Individual Claims under these TDP, i.e., the
 Cash Value of a Point.

                 Description & Application of Points Valuation System

                 A.      In General

         Promptly after the Trust is established, the Trustees, in consultation with the Guarantor,
 TAC, and FCR shall establish an initial Cash Value of a Point (the “Initial Cash Value of a
 Point”). This Initial Cash Value of a Point shall be calculated on the basis of the initial trust claim
 submissions, an estimate of future submissions, and the claim valuation procedures outlined in
 these TDP. Given the uncertainty associated with Individual Claims, and in recognition of the fact
 that the Trust may increase the Cash Value of a Point in the future, the Trust shall take a
 conservative posture in setting the Initial Cash Value of a Point.

         The totality of the Individual Claims to be paid over time pursuant to these TDP is not
 certain. Further, there is also some uncertainty surrounding the value of the Trust’s assets in the
 future. If the value of the Trust’s future assets increases materially and/or if the value or volume
 of Individual Claims actually filed with the Trust is materially lower than originally estimated, the
 Trust shall use the increase in Trust assets available first to maintain the Cash Value of a Point
 then in effect.

                 B.      Supplemental Payments Owed Due to Increases to the Cash Value of a
                         Point

        If the Trustees, after consultation with the TAC determine that an increase to the Cash
 Value of a Point is warranted due to a material change in the estimates of the Trust’s future assets
 and/or liabilities, then the Trustees shall cause the Trust to make supplemental payments to the
 Individual Claimants, subject to the terms set forth herein, upon written notice of the increase to
 the Cash Value of a Point to all Individual Claimants and their counsel (each a “Cash Value of
 Point Adjustment Notice”). The amount of any supplemental payment shall be the Scheduled

 - 41 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 47 of 57



 Value of the Allowed Claim in question multiplied by the newly adjusted Cash Value of a Point,
 less the previous Allowed Claim Amount of the Allowed Claim. Checks issued by the Trust in
 respect of any supplemental payments shall be mailed to the last address the Individual Claimant
 provided to the Trust for the Trust to send payments, which address may be the Individual
 Claimant’s attorney. Checks issued by the Trust in respect of any supplemental payments shall be
 null and void if not negotiated within 180 days after the date of issuance thereof. Thereafter, the
 amount represented by such voided check shall irrevocably revert to the Trust. Any Allowed
 Claim in respect of such voided check shall be discharged and forever barred from assertion against
 the Trust and the Individual Claimant shall not be entitled to any future payments from the Trust.

                C.      Determination of Cash Value of a Point

           The Trustees shall base their determination of the Cash Value of a Point on (i) current
 estimates as to the number, types, and Scheduled Values determined for Existing Claims and
 Future Claims, (ii) the value of the assets available to the Trust for payment of Allowed Claims,
 (iii) all anticipated administrative and legal expenses, and any other matters that are reasonably
 likely to affect the sufficiency of funds to pay all Existing Claimants and Future Claimants based
 on the same application of the TDP methodology to all Individual Claimants and the points
 awarded to each Individual Claimant. When making these determinations, the Trustees shall
 evaluate all relevant factors to determine a conservative Cash Value of a Point with the goal of
 assuring that the Trust will be able to treat all similar Existing Claims and Future Claims in
 substantially the same manner.

          The Cash Value of a Point shall be subject to change pursuant to the terms of these TDP
 and the Talc Personal Injury Trust Agreement. The Trustees shall review the then-applicable Cash
 Value of a Point as it deems necessary to assure that it is based on accurate, current information,
 and shall compare the liability forecast on which the then-applicable Cash Value of a Point was
 based with the actual claims submission and payment experience of the Trust to date, and the
 projected assets of the Trust on which the then-applicable Cash Value of a Point was based with
 the current assets, and any updated projections of asset values, of the Trust and Future Claims. If
 the results of the comparisons call into question the ability of the Trust to rely upon the current
 liability and asset forecasts, the Trustees may, if necessary, propose a change in the Cash Value of
 a Point. Any adjustment to the Cash Value of a Point Value must be made in consultation with
 the Guarantor, TAC, the FCR, and must be approved by the Bankruptcy Court. In the event that
 adjustment of the Cash Value of a Point is approved, the Trust shall publicly disclose the approval
 and adjusted Cash Value of a Point on its website.

 7.2      General Guidelines for Liquidating & Paying Allowed Claims

                Documentation Requirements

                A.      Acceptance & Release

        An Individual Claimant who decides to accept an offer of payment from the Trust based
 on the proposed Scheduled Value for their Allowed Claims shall complete and execute the
 applicable acceptance and release form, a copy of which is attached hereto as Exhibit [●] to these
 TDP and shall be included with the distribution of the Submission Procedures (the “Acceptance

 - 42 -
Case 23-12825-MBK          Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                                  Document    Page 48 of 57



 and Release”). The Acceptance and Release provided to Qualifying Claimants and Other
 Approved Claimants shall include a release of all claims against the Debtor, which is discharged,
 the LTL Corporate Parties, and all of the other Protected Parties, to the extent any such claims
 arise from or are related to the accepting Individual Claimant’s alleged use talc or talc-containing
 products, including J&J Talc Products, and resulting injury. The applicable Acceptance and
 Release shall be available for completion electronically and may be executed by the accepting
 Individual Claimant or his/her legal Representative via Adobe Sign or DocuSign, or a similar
 authorized electronic signature and notarization program, or such other simplified and expedient
 means that the Trust, in consultation with the Guarantor and with the consent of the TAC and FCR,
 may adopt. The TAC and FCR shall not unreasonably withhold such consent; however, if such
 consent is not obtained, the Trustees are authorized to seek an order of the Bankruptcy Court
 approving the adoption of such similar programs or other simplified and expedient means.

                B.        Documents Establishing Legal Representation

         Individual Claimants asserting an Individual Claim on behalf of a minor, incapacitated, or
 deceased person must, before any funds related to such Allowed Claim may be distributed from
 the Settlement Trust, submit to the Trust appropriate documentation confirming the Allowed
 Claimant’s legal authority to resolve the Individual Claim on behalf of the minor, incapacitated,
 or the deceased person and his/her estate.

                Offsets

         The Trust shall have the right to offset or reduce payment of an Allowed Claim Amount,
 on a dollar-for-dollar basis based on any amounts paid, agreed upon, or reasonably likely to be
 paid to the relevant Individual Claimant on account of his/her Individual Claim as against a
 Protected Party (or that reduces the liability thereof under applicable law) from any source other
 than the Trust.

 7.3      Payment of Claims

                Allowed Claim Amounts Held in Escrow

        Promptly upon receipt of an Individual Claimant’s properly executed Acceptance and
 Release, the Allowed Claim Amount for the released Allowed Claim shall be set aside and held in
 escrow within the Settlement Trust pending the final resolution of various administrative issues
 involving the resolution of the Individual Claim including issues related to probate, guardianship,
 personal bankruptcy filings, lien resolution, and duplicate sign-ups.

                Payment of Allowed Claims

         Once all applicable administrative issues related to an Individual Claimant’s acceptance of
 his/her Allowed Claim Amount are resolved, the Trustees shall transfer to the Individual Claimant
 his/her Net Award Amount. Alternatively, if an Individual Claimant elected to receive his/her
 distribution pursuant to these TDP through his/her retained counsel, then the Trustees shall transfer
 the Net Award Amount to the retained counsel identified on the Individual Claimant’s Claim
 Submission Form.


 - 43 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                Document    Page 49 of 57



         For those Individual Claimants represented by counsel with respect to their Allowed
 Claims, the Trust shall only pay attorneys’ fees or expenses to the attorneys and/or law firms
 named in the Individual Claimants’ client retention agreements with their counsel. For avoidance
 of doubt, no payments may be made to any attorney not specifically identified on such agreement.
 Further, the Plan and these TDP do not contemplate any Common Benefit Fund Obligations in
 respect of Allowed Claim Amounts paid by the Trust. As such, no common benefit fees or costs
 shall be deducted from Allowed Claim Amounts or paid by the Settlement Trust, regardless of
 whether the Allowed Claim Amount was awarded via the procedures set forth in the TDP or
 outside of the bankruptcy, via the tort system.

 7.4      Payment Processing

                FIFO Payment Processing

        Individual Claims that have been liquidated in accordance with the terms herein shall be
 paid from the Settlement Trust in FIFO order based on the date that each relevant Individual
 Claimant accepted an offer from the Trust and their liquidation became final, all such payments
 being subject to the applicable Maximum Value and sequencing adjustment provided for below,
 and as otherwise provided herein, i.e., the FIFO Payment Queue.

         For those Individual Claimants who (i) hold Qualifying Claims or Other Approved Claims
 as a representative on behalf of a deceased or incompetent individual, and (ii) are required to obtain
 court or other probate approval before accepting any Scheduled Value proposed by Trust, the
 Individual Claim shall retain its position in the FIFO Payment Queue so long as the as proceedings
 to obtain such approval remain pending, and provided that the Individual Claimant has provided
 the Trust with evidence that the proposed Allowed Claim Amount has been submitted to such court
 or in that probate process for approval. If the Individual Claimant ultimately obtains the required
 court or probate approval and a properly completed Acceptance and Release is submitted to the
 Trust, the Settlement Trust shall pay the Allowed Claim Amount offered, accepted, and approved.

         In the event that any Allowed Claims are liquidated on the same date, each Individual
 Claimant’s position in the applicable FIFO Payment Queue shall be determined by his/her relevant
 Date of Diagnosis, with the earlier diagnosis having priority over the later diagnosis. In the
 unlikely event that any Allowed Claims are liquidated on the same date and also have the same
 relevant Date of Diagnosis, those Individual Claimants’ positions in the FIFO Payment Queue
 shall be determined by the Trust based on the such Individual Claimants’ dates of births, with older
 claimants given priority over younger claimants.

                Discretion to Vary the Order & Amounts of Payments in Event of Limited
                Liquidity

        Consistent with the provisions hereof and subject to the FIFO Processing Queue, FIFO
 Payment Queue, and applicable Maximum Values, the Trustees shall proceed as quickly as
 possible to liquidate Allowed Claims and shall promptly make payments to relevant Individual
 Claimants in accordance with these TDP on an ongoing basis, as funds become available and as
 Individual Claims are liquidated, while maintaining sufficient resources to pay Future Claimants



 - 44 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                                Document    Page 50 of 57



 who submit Individual Claims that are determined to be Allowed Claims in substantially the same
 manner.

         Because the Trust’s assets and liabilities over time remain uncertain, and decisions about
 payments must be based on estimates that cannot be made precisely, such decisions may have to
 be revised in light of experiences over time, and there can be no guarantee of any specific level of
 payment to Individual Claimants. The Trustees shall, however, use their best efforts to treat similar
 Individual Claims in substantially the same manner, consistent with their duties as Trustees, the
 purposes of the Trust, and the practical limitations imposed by the inability to predict the future
 with precision.

          In the event that the Trust faces issues with respect to liquidity that cannot be resolved
 based on adjustments to the Cash Value of a Point, the Trustees may, upon consultation with the
 Guarantor, and with the consent of the TAC and FCR, (a) suspend the normal order of payment,
 or (b) temporarily limit or suspend payments altogether. The TAC and FCR shall not unreasonably
 withhold such consent; however, if such consent is not obtained, the Trustees are authorized to
 seek an order of the Bankruptcy Court suspending the normal order of payment or temporarily
 limiting or suspending payments altogether.

 7.5      Punitive Damages

        In determining the value of any liquidated or unliquidated Individual Claim, punitive or
 exemplary damages (i.e., damages other than compensatory damages) shall not be considered or
 allowed, notwithstanding their availability in the tort system. Similarly, no punitive or exemplary
 damages shall be payable with respect to any claim litigated against the Trust in the tort system
 pursuant to Article 6 herein.


                  RESOLUTION OF GOVERNMENTAL ACTION CLAIMS

 8.1      Governmental Action Claims Are Subject to These TDP

         Each holder of a Governmental Action Claim which (a) prior to the Petition Date, filed a
 lawsuit against the Debtor or its predecessor asserting a Governmental Action Claim or (ii) filed a
 Proof of Claim asserting a Governmental Action Claim by the Claims Bar Date (each a
 “Governmental Holder”) shall participate in these TDP. The Claims Administrator shall have
 the right at any time to request additional information from any Governmental Holder regarding
 its Governmental Action Claims.

 8.2      Settlement Offer and Negotiations

         The Claims Administrator shall make a written or oral offer to settle the Governmental
 Holder’s Governmental Action Claim (a “Settlement Offer”). The offer shall be made to counsel
 for the Governmental Holder or, if no counsel has been identified, the Governmental Holder.

         After a Governmental Holder has received a Settlement Offer, the Governmental Holder
 shall contact the Claims Administrator and provide a written or oral response to the Settlement
 Offer (the “Response”). The Governmental Holder may accept or reject the Settlement Offer or

 - 45 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                Desc Main
                                Document    Page 51 of 57



 make a counteroffer. In the event the Governmental Holder declines to accept the Settlement
 Offer, the Governmental Holder and the Claims Administrator shall engage in good faith
 negotiations regarding the Governmental Action Claim.

        If the Governmental Holder accepts the Settlement Offer or the Claims Administrator and
 the Governmental Holder otherwise reach agreement on the amount of the Governmental Holder’s
 Governmental Action Claim (in either case, the “Settlement Amount”), the Governmental Action
 Claim shall be fixed at the Settlement Amount. The Governmental Action Trust shall pay the
 Settlement Amount pursuant to Section 8.6 below.

        If the parties are unable to reach agreement pursuant to the procedures in this Section 8.2,
 the Governmental Holder’s Governmental Action Claim shall be referred to mediation.

 8.3      Mediation

        A Governmental Holder’s Governmental Action Claim shall be referred to mediation if the
 Claims Administrator and the Governmental Holder are unable to reach agreement pursuant to the
 procedures set forth in Section 8.2 of these TDP.

        A mediator (the “GAC Mediator”) shall be jointly chosen by the Claims Administrator
 and the Governmental Holder. If the parties are unable to reach agreement regarding the GAC
 Mediator, the Governmental Holder’s Governmental Action Claim shall either, at the option of the
 Governmental Holder, (i) be referred to arbitration as provided in Section 8.4 of these TDP or (ii)
 proceed to litigation as provided in Section 8.5 of these TDP.

         The GAC Mediator will work with the Claims Administrator and the Governmental Holder
 to reach a settlement of the Governmental Action Claim that is mutually acceptable to both parties.
 The GAC Mediator shall not have the authority to unilaterally impose a settlement upon the parties.
 The Governmental Holder and the Claims Administrator shall each pay one half of the fees and
 expenses, including legal fees, incurred by the GAC Mediator. The parties shall otherwise bear
 their own costs, including legal fees.

        If the mediation results in a settlement agreement, the Governmental Action Trust shall
 pay the Settlement Amount pursuant to Section 8.6, below. If the mediation concludes with no
 settlement, the Governmental Holder shall elect to either (i) participate in binding arbitration
 pursuant to Section 8.4 of these TDP or (ii) proceed to litigation pursuant to Section 8.5 of these
 TDP.

 8.4      Arbitration

        A Governmental Action Claim may be referred to binding arbitration as provided in
 Section 8.3 of these TDP and at the option of the Governmental Holder.

         If a Governmental Holder’s Governmental Action Claim is referred to arbitration, an
 arbitrator (the “GAC Arbitrator”) shall be jointly chosen by the Claims Administrator and the
 Governmental Holder. If the parties are unable to reach agreement regarding the GAC Arbitrator,
 the a Governmental Holder’s Governmental Action Claim shall proceed to litigation as provided
 in Section 8.5 of these TDP.

 - 46 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                 Document    Page 52 of 57



        The arbitration shall be governed by the Federal Arbitration Act, Title 9, United States
 Code. The GAC Arbitrator shall determine the amount of the Governmental Holder’s
 Governmental Action Claim. Unless otherwise agreed by the parties, the arbitration shall be
 conducted pursuant to the dispute resolution procedures for commercial claims of the American
 Arbitration Association, as currently in effect and appropriate. The Governmental Holder and the
 Claims Administrator shall each pay one-half of the fees and expenses, including legal fees
 incurred by the GAC Arbitrator. The parties shall otherwise bear their own costs, including legal
 fees.

         The amount of the Governmental Holder’s Governmental Action Claim awarded by the
 Arbitrator (the “GAC Arbitration Award”) shall be binding and determined by the Arbitrator, in
 their discretion. In no event shall the Arbitration Award include any punitive or exemplary
 damages. Neither party shall have the right to appeal the GAC Arbitration Award except on the
 grounds set forth in the Federal Arbitration Act. There will be no right to a trial de novo. Once
 the GAC Arbitration Award is final and non-appealable, the Governmental Action Trust shall pay
 the GAC Arbitration Award pursuant to Section 8.6, below.

 8.5      Litigation

         Any Governmental Holder that elects to litigate his/her Governmental Action Claim(s)
 pursuant to the procedures in this Section 8.5 of these TDP, or is otherwise required to litigate
 his/her Governmental Action Claim pursuant to Section 8.4 of these TDP, shall have the right to
 institute a lawsuit against the Trust in: (i) the United States District Court for the District of New
 Jersey; or (ii) if Governmental Holder commenced litigation against the Debtor prior to the Petition
 Date and that litigation remains pending on the Effective Date, at the option of the Governmental
 Holder, in the United States District Court for the District of New Jersey or the United States
 District Court in the jurisdiction in which the pre-petition litigation is pending. All defenses, which
 include all defenses that could have been asserted by the Debtor, shall be available to the Trust at
 trial.

          The court adjudicating the Governmental Action Claims shall determine the Debtor's
 liability for the Governmental Action Claims and shall not consider or allow punitive or exemplary
 damages. Once any Governmental Action Claims is litigated to a final, non-appealable judgment
 in accordance with this Section 8.5, the Governmental Action Trust shall pay judgment pursuant
 to Section 8.6, below. The Governmental Holder shall be responsible for its fees and costs,
 including legal fees. The Governmental Holder shall also be responsible for the fees and costs,
 including legal fees, incurred in the litigation by the Claims Administrator if the amount of the
 final non-appealable judgment is less than the last Settlement Offer made to Governmental Holder
 by the Claims Administrator.

 8.6      Payment of Settlement Amount, Arbitration Award, and Judgment

                 Payment Upon Final Determination

        Only after the Trustees have established an Initial Payment Percentage in accordance with
 Section [●] of the Trust Agreement, then once there is an agreed upon Settlement Amount pursuant
 to Section 8.2 or Section 8.3, a GAC Arbitration Award pursuant to Section 8.4, or a money

 - 47 -
Case 23-12825-MBK         Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                  Desc Main
                                 Document    Page 53 of 57



 judgment against the Trust pursuant to Section 8.5 with respect to any Governmental Action Claim
 (collectively, the “Governmental Amounts”), the Governmental Holder will receive a payment
 of the applicable amounts based on the Payment Percentage then in effect as described in Section
 8.6.2 and Section 8.6.3.

                Initial Payment Percentage

        After the applicable Governmental Amount has been determined, the Governmental Action
 Trust shall pay an initial distribution (“Initial Distribution”) based on the Initial Payment
 Percentage established by the Trustees in accordance with the Trust Agreement.

                Supplemental Payment Percentage

         When the Trustees determines that the then-current estimates of the Governmental Action
 Trust’s assets and its liabilities, as well as then-estimated value of then-pending Governmental
 Action Claims, warrant additional distributions on account of the Governmental Amounts, the
 Trustees shall set a Supplemental Payment Percentage in accordance with the Trust Agreement.
 Such Supplemental Payment Percentages shall be applied to all Governmental Amounts that
 became final prior to the establishment of such Supplemental Payment Percentage. Governmental
 Holders whose Governmental Action Claims are assigned a Governmental Amount after a
 Supplemental Payment Percentage is set shall receive an Initial Distribution equal to the then
 existing payment percentage.

                Release

         In order for a Governmental Action Claim to receive any payment from the Settlement
 Trust, the Governmental Action Claimant must submit an executed release in the form attached
 hereto.

                FIFO Claims Processing Queuing

         The Trust shall review all Governmental Action Claim Submissions for processing
 purposes on a FIFO basis as set forth below. A Governmental Holder’s position in the FIFO
 Processing Queue shall be determined as of the Governmental Holder’s Governmental Action
 Claim submission date. If any Governmental Action Claims are filed on the same date, a
 Governmental Holder’s position in the applicable FIFO Processing Queue vis-à-vis such other
 same-day claims shall be determined by the date on which the basis of such Governmental Action
 arose, with earlier claims given priority over newer ones.

 8.7      Statutes of Limitations & Repose

         To be eligible for payment pursuant to these TDP, a Governmental Holder must have either
 (i) prior to the Petition Date, filed a lawsuit against the Debtor or its predecessor asserting a
 Governmental Action Claim or (ii) submitted a Proof of Claim asserting a Governmental Action
 Claim by the Bar Date, in either case prior to the expiration of any applicable statute of limitations
 or repose as such statute may have been tolled pursuant to section 108 of the Bankruptcy Code.
 At any time during the administration of these TDP, including during arbitration or litigation, the
 Claims Administrator may agree to a settlement with a Governmental Holder.

 - 48 -
Case 23-12825-MBK          Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                  Document    Page 54 of 57




   RESOLUTION OF INDIRECT DERIVATIVE TALC PERSONAL INJURY CLAIMS

 9.1      Indirect Derivative Talc Personal Injury Claims

        To be eligible to receive compensation from the Settlement Trust, the holder of an Indirect
 Derivative Talc Personal Injury Claim:

          (1) must have filed a Proof of Claim asserting an Indirect Derivative Talc Personal Injury
              Claim by the Claims Bar Date or otherwise submitted the Indirect Derivative Talc
              Personal Injury Claim to the Trust;

          (2) must have an Indirect Derivative Talc Personal Injury Claim that is not subject to (a)
              disallowance under section 502 of the Bankruptcy Code, including subsection (e)
              thereof (subject to the right of the holder of the Indirect Derivative Talc Personal Injury
              Claim to seek reconsideration by the Trustees under section 502(j) of the Bankruptcy
              Code), or is not otherwise legally invalid, or (b) subordination under sections 509(c) or
              510 of the Bankruptcy Code, or otherwise under applicable law;

          (3) must submit to the Trustees a properly executed Acceptance and Release; and

          (4) must establish to the satisfaction of the Trustees that:

                 (a) such Indirect Derivative Talc Personal Injury Claimant has paid in full all of
                     the Claim holder’s total share of the liability and/or obligation of the Settlement
                     Trust to a Talc Personal Injury Claimant to whom the Trust would otherwise
                     have had a liability or obligation under these TDP (as to which the holder of the
                     Allowed Indirect Derivative Talc Personal Injury Claim seeks payment); and

                 (b) the Indirect Derivative Talc Personal Injury Claim is not otherwise subject to a
                     valid defense, including, without limitation, that such Indirect Derivative Talc
                     Personal Injury Claim is barred by a statute of limitations or repose or by other
                     applicable law.

         In no event shall any Indirect Derivative Talc Personal Injury Claimant have any rights
 against the Trust superior to the rights that the Talc Personal Injury Claimant to whose claim the
 Indirect Derivative Talc Personal Injury Claim relates, would have against the Trust, including any
 rights with respect to timing, amount, percentage, priority, or manner of payment. No Indirect
 Derivative Talc Personal Injury Claim may be liquidated and paid in an amount that exceeds what
 the Indirect Derivative Talc Personal Injury Claimant has paid to the related Talc Personal Injury
 Claimant or to the Trust in respect of such claim for which the Trust would have liability, and in
 no event shall any Indirect Derivative Talc Personal Injury Claim exceed the Allowed Claim
 Amount of the related Talc Personal Injury Claim, provided that an Indirect Derivative Talc
 Personal Injury Claimant may assert against the Trust an Indirect Derivative Talc Personal Injury
 Claim for the recovery of defense costs solely to the extent permitted under applicable law.



 - 49 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13               Desc Main
                                Document    Page 55 of 57



         To the extent that an Indirect Derivative Talc Personal Injury Claim is a lien claim that
 may be properly resolved pursuant to Section 3.3 above, Section 3.3, rather than this Article 9,
 shall apply to resolve such lien claim.

         Indirect Derivative Talc Personal Injury Claims that become Allowed Indirect Derivative
 Talc Personal Injury Claims shall receive distributions in accordance with Article 7 hereof and
 shall be subject to the same liquidation and payment procedures as the Settlement Trust would
 have afforded the holders of the underlying valid Talc Personal Injury Claims pursuant to Articles
 5 and 7 hereof.

 9.2      Offset

     The liquidated value of any Indirect Derivative Talc Personal Injury Claim paid by the
 Settlement Trust shall be treated as an offset to or reduction of the full liquidated value of any
 related Talc Personal Injury Claim that might be subsequently asserted against the Trust as being
 against any Protected Party(ies) whose liability was paid by the holder of an Indirect Derivative
 Talc Personal Injury Claim.

 9.3      Court Review

     Within thirty (30) days after an Indirect Derivative Talc Personal Injury Claimant receives
 written notice from the Trust of the proposed allowed amount of its Indirect Talc Personal Injury
 Claim or denial thereof (the “Judicial Review Election Deadline”), an Individual Derivative Talc
 Personal Injury Claimant may notify the Trust of its intention to seek a de novo review of the
 Trustees’ determination of its Indirect Derivative Talc Personal Injury Claim in accordance with
 these TDP (including Section 9.1 hereof) by a court of competent jurisdiction (a “Judicial Review
 Election”). Such notification shall be made by submitting a written notice to the Trustees (a
 “Judicial Review Election Notice”) by the Judicial Review Election Deadline. Unless the
 Trustees agree to extend the Judicial Review Election Deadline, an Indirect Derivative Talc
 Personal Injury Claimant who fails to so submit a Judicial Review Election Notice by the Judicial
 Review Election Deadline shall be deemed to accept the disallowance of its Indirect Derivative
 Talc Personal Injury Claim or the proposed Allowed Claim Amount (as applicable) and shall have
 no right to seek any further review of its Indirect Derivative Talc Personal Injury Claim. An
 Indirect Derivative Talc Personal Injury Claimant that makes a Judicial Review Election may not
 seek costs or expenses against the Trust in any judicial proceeding commenced on account of its
 Judicial Review Election and the Trust may not seek costs or expenses against the Indirect
 Derivative Talc Personal Injury Claimant. In no event shall the submission and/or filing of a
 Judicial Review Election Notice entitle the holder of an Indirect Derivative Talc Personal Injury
 Claim to request or receive treatment different than the treatment provided for under these TDP
 (including Section 9.1 hereof). The de novo review provided for herein shall be to determine the
 allowed amount of the Indirect Derivative Talc Personal Injury Claim under and in accordance
 with these TDP. All defenses (including, with respect to the Trust, all defenses that could have
 been asserted by the Debtor or Protected Parties, except as otherwise provided in the Plan) shall
 be available to both sides at any judicial proceeding commenced on account of the Indirect
 Derivative Talc Personal Injury Claimant’s Judicial Review Election. Upon entry of final non-
 appealable order of a court competent jurisdiction fixing the allowed amount of the Indirect
 Derivative Talc Personal Injury Claim, if any, such Indirect Derivative Talc Personal Injury Claim

 - 50 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                   Desc Main
                                Document    Page 56 of 57



 shall be deemed an “Allowed Indirect Derivative Talc Personal Injury Claim” and paid in
 accordance with Article 7 hereof.

 9.4      Non-Responsive Indirect Derivative Talc Personal Injury Claimants

         Except for those Indirect Derivative Talc Personal Injury Claimants who have submitted a
 Judicial Review Election, Allowed Indirect Derivative Talc Personal Injury Claimants shall have
 one hundred eighty (180) days from the date an offer is made by the Trust to accept such offer. In
 the event that an Indirect Derivative Talc Personal Injury Claimant neither accepts such settlement
 offer within 180 days nor submits a Judicial Review Election under Section 9.3, such Indirect
 Derivative Talc Personal Injury Claimant’s Indirect Derivative Talc Personal Injury Claim shall
 be deemed waived and ineligible for compensation from the Settlement Trust.


                                        MISCELLANEOUS

 10.1     Non-Binding Effect of Trust and/or Litigation Outcome

         Notwithstanding any other provision of these TDP, the Trust’s determination to pay or
 not to pay any claim shall not be binding on, or have any res judicata, collateral estoppel, or other
 preclusive effect in any lawsuit or other proceeding against, the Debtor, the other Protected
 Parties, or any other Person other than the Trust.

 10.2     Independence of Trust

         Except as otherwise specifically stated herein, (i) none of the Debtor, the Reorganized
 Debtor, or any LTL Corporate Party shall have any rights or involvement whatsoever in the
 Trust, (ii) none of the Debtor, Reorganized Debtor or any LTL Corporate Party is a third-party
 beneficiary of the Trust or these TDP, and (iii) nothing herein creates any rights or obligations
 that may give rise to a claim or cause of action by the Debtor, the Reorganized Debtor, or any
 LTL Corporate Party against the Trust or any Talc Personal Injury Claimant.

 10.3     Amendments

         The Trustees may not amend these TDP in any material manner that is inconsistent with
 the Plan without consulting with the TAC, FCR, and Guarantor, and subsequently filing a motion
 in the Bankruptcy Court seeking approval of Bankruptcy Court for such material modifications.
 Absent Bankruptcy Court approval after appropriate notice and opportunity to object, neither the
 Trustees, Claims Administrator, Claims Processor, Lien Resolution Administrator, TAC nor
 FCR may amend these TDP in any material manner that is inconsistent with the Plan. Nothing
 herein is intended to preclude the TAC or FCR from proposing to the Trustees, in writing,
 amendments to these TDP. For the avoidance of doubt, these TDP may not be amended to alter
 the allocation of the assets of the Trust between or among the Settlement Trust, the Governmental
 Action Trust, and the Talc Personal Injury TPP Lien Claims Sub-Trust.




 - 51 -
Case 23-12825-MBK        Doc 1008 Filed 07/11/23 Entered 07/11/23 21:21:13                 Desc Main
                                Document    Page 57 of 57



 10.4     Severability

         Should any provision contained in these TDP be determined to be unenforceable, such
 determination shall in no way limit or affect the enforceability and operative effect of any and
 all other provisions of these TDP.

 10.5     Governing Law

        Except for purposes of determining the liquidated value of any Talc Personal Injury
 Claim, administration of these TDP shall be governed by, and construed in accordance with, the
 laws of the State of New Jersey. The review and evaluation of Individual Claims under these
 TDP and the law governing mediation, arbitration, or litigation in the tort system shall be the law
 of the jurisdiction in which the Individual Claimant could have filed a lawsuit alleging an
 Individual Claim under applicable law.




 - 52 -
